1A
 101-7-TDR
 /2009
 /2010
 ary
 2 Services
                                                 UNITED STATES BANKRUPTCY COURT
                                                  WESTERN DISTRICT OF NEW YORK
                                                         BUFFALO DIVISION


               In Re:                                        §
                                                             §
               NORSE ENERGY CORP. USA, A                     §      Case No. 12-13685
               CORPORATI                                     §
                                                             §
                                   Debtor                    §

                               CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                               REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                               ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)

                       MARK S. WALLACH, TRUSTEE, chapter 7 trustee, submits this Final Account,
               Certification that the Estate has been Fully Administered and Application to be Discharged.

                       1) All funds on hand have been distributed in accordance with the Trustee’s Final Report
               and, if applicable, any order of the Court modifying the Final Report. The case is fully
               administered and all assets and funds which have come under the trustee’s control in this case
               have been properly accounted for as provided by law. The trustee hereby requests to be
               discharged from further duties as a trustee.

                      2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
               discharged without payment, and expenses of administration is provided below:


               Assets Abandoned: 11,591,287.33                      Assets Exempt: NA
               (Without deducting any secured claims)

               Total Distributions to Claimants: 3,857,935.52       Claims Discharged
                                                                    Without Payment: NA

               Total Expenses of Administration: 2,418,673.15


                       3) Total gross receipts of $6,276,608.67 (see Exhibit 1), minus funds paid to the debtor
               and third parties of $0.00 (see Exhibit 2), yielded net receipts of $6,276,608.67 from the
               liquidation of the property of the estate, which was distributed as follows:




                   Case 1-12-13685-CLB, Doc 1231, Filed 09/21/21, Entered 09/21/21 14:50:42,
          UST Form 101-7-TDR (10/1/2010) (Page: 1)
                                    Description: Main Document , Page 1 of 79
                                                  CLAIMS            CLAIMS                CLAIMS                 CLAIMS
                                                SCHEDULED          ASSERTED              ALLOWED                  PAID



SECURED CLAIMS
(from Exhibit 3)                                   $555,943.00    $1,004,215,408.57         $3,614,235.95         $3,600,338.75

PRIORITY CLAIMS:
  CHAPTER 7 ADMIN. FEES
  AND CHARGES
  (from Exhibit 4)                                          NA         6,247,213.01          1,762,207.01          1,762,207.01

PRIOR CHAPTER
  ADMIN. FEES AND
  CHARGES (from Exhibit 5)                                  NA          818,189.18            656,466.14                656,466.14

  PRIORITY UNSECURED
  CLAIMS (from Exhibit 6)                             28,310.00    1,000,058,220.38             13,552.24                13,246.24

GENERAL UNSECURED
CLAIMS (from Exhibit 7)                           35,431,512.13      51,642,658.92           7,102,570.82               244,350.53

TOTAL DISBURSEMENTS                              $36,015,765.13   $2,062,981,690.06       $13,149,032.16          $6,276,608.67


                 4) This case was originally filed under chapter 11 on 12/06/2012, and it was converted to
          chapter 7 on 10/10/2013. The case was pending for 96 months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to
          the United States Trustee.

                  6) An individual estate property record and report showing the final accounting of the
          assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for each
          estate bank account, showing the final accounting of the receipts and disbursements of estate
          funds is attached as Exhibit 9.

                 Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
          foregoing report is true and correct.

          Dated: 08/30/2021                        By:/s/MARK S. WALLACH, TRUSTEE
                                                                         Trustee
          STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
          exemption 5 C.F.R. § 1320.4(a)(2) applies.




              Case 1-12-13685-CLB, Doc 1231, Filed 09/21/21, Entered 09/21/21 14:50:42,
     UST Form 101-7-TDR (10/1/2010) (Page: 2)
                               Description: Main Document , Page 2 of 79
                                              EXHIBITS TO
                                            FINAL ACCOUNT


       EXHIBIT 1 – GROSS RECEIPTS

                      DESCRIPTION                    UNIFORM                    $ AMOUNT
                                                    TRAN. CODE1                 RECEIVED

     Gas Sales/Royalties                              1123-000                          43,171.21

   363/365 Sale of Assets                             1129-000                        2,650,000.00

 Operating Account #0000303607                        1129-000                          95,221.47

  Revenue Account #0000326917                         1129-000                            4,073.32

Stock - Vandermark Exploration Inc.                   1129-000                          68,800.00

  Chicago Title Esc. (Hartz)                          1221-000                          42,525.94

   Miscellaneous Receipts                             1221-000                              72.44

      Multishot Escrow                                1221-000                         281,507.25

         Refunds                                      1221-000                          11,587.02

      Stryker Escrow                                  1221-000                         320,000.00

      Wells Fargo 5432                                1229-000                         212,935.42

      Wells Fargo 9100                                1229-000                         520,196.76

      Wells Fargo 9308                                1229-000                             100.00

      Wells Fargo 9316                                1229-000                             100.00




          Case 1-12-13685-CLB, Doc 1231, Filed 09/21/21, Entered 09/21/21 14:50:42,
 UST Form 101-7-TDR (10/1/2010) (Page: 3)
                           Description: Main Document , Page 3 of 79
                            DESCRIPTION                                    UNIFORM                                       $ AMOUNT
                                                                          TRAN. CODE1                                    RECEIVED

         549 claim vs Wells Fargo                                             1241-000                                       45,659.41

Claim filed in Norway Grandparent case                                        1241-000                                         3,158.43

               D & O AP                                                       1241-000                                     1,985,000.00

Other Litigation/Settlements                                                  1249-002                                        -7,500.00

TOTAL GROSS RECEIPTS                                                                                                      $6,276,608.67
1
 The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


             EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                    PAYEE                                       DESCRIPTION                           UNIFORM            $ AMOUNT
                                                                                                     TRAN. CODE             PAID

NA                                                                                                      NA                          NA

TOTAL FUNDS PAID TO DEBTOR &                                                                                                      $NA
THIRD PARTIES


             EXHIBIT 3 – SECURED CLAIMS

                                                  UNIFORM        CLAIMS
                                                                                    CLAIMS               CLAIMS
CLAIM NO.               CLAIMANT                   TRAN.      SCHEDULED                                                  CLAIMS PAID
                                                                                   ASSERTED             ALLOWED
                                                   CODE      (from Form 6D)

48A           ANDREW J. HULL                      4110-000                NA     1,000,000,000.00                 0.00              0.00


55A           EDWARD J. KOVACK, Jr.               4110-000                NA               711.00                 0.00              0.00


70            JOHN M. WAMBAUGH                    4110-000                NA             13,319.89                0.00              0.00


              KARL J. & ALICIA R.
78            KUEHN                               4110-000                NA              5,500.00                0.00              0.00




                Case 1-12-13685-CLB, Doc 1231, Filed 09/21/21, Entered 09/21/21 14:50:42,
       UST Form 101-7-TDR (10/1/2010) (Page: 4)
                                 Description: Main Document , Page 4 of 79
                                                  UNIFORM         CLAIMS
                                                                                   CLAIMS            CLAIMS
CLAIM NO.               CLAIMANT                   TRAN.       SCHEDULED                                             CLAIMS PAID
                                                                                  ASSERTED          ALLOWED
                                                   CODE       (from Form 6D)

              MICHAEL J. & GERTRUDE
66            E. SACCO                            4110-000                NA           19,192.00              0.00              0.00


38            MULTI-SHOT                          4110-000         555,943.00         562,449.73              0.00              0.00


              Multi-Shot LLC                      4120-000                NA             5,000.00         5,000.00          5,000.00


              START UP 271 AS                     4210-000                NA         3,595,338.75     3,595,338.75      3,595,338.75


              CHENANGO COUNTY
59A           TREASURER                           4700-000                NA             6,491.17         6,491.17              0.00


              MADISON COUNTY
58            TREASURER'S OFFICE                  4700-000               0.00            1,635.26         1,635.26              0.00


              DEPT OF LABOR AND
1A            INDUSTRY                            4800-000                NA             5,770.77         5,770.77              0.00

TOTAL SECURED CLAIMS                                              $555,943.00   $1,004,215,408.57    $3,614,235.95     $3,600,338.75


             EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

                                           UNIFORM
                                                               CLAIMS            CLAIMS              CLAIMS
                PAYEE                       TRAN.                                                                    CLAIMS PAID
                                                             SCHEDULED          ASSERTED            ALLOWED
                                            CODE

MARK S. WALLACH                             2100-000                   NA           211,548.26        211,548.26         211,548.26


MARK S. WALLACH                             2200-000                   NA                86.90             86.90              86.90


INTERNATIONAL SURETIES,
LTD.                                        2300-000                   NA             2,021.24          2,021.24            2,021.24


Iron Mountain                               2410-000                   NA            53,663.58         53,663.58          53,663.58




                Case 1-12-13685-CLB, Doc 1231, Filed 09/21/21, Entered 09/21/21 14:50:42,
       UST Form 101-7-TDR (10/1/2010) (Page: 5)
                                 Description: Main Document , Page 5 of 79
                                         UNIFORM
                                                       CLAIMS      CLAIMS          CLAIMS
              PAYEE                       TRAN.                                                  CLAIMS PAID
                                                     SCHEDULED    ASSERTED        ALLOWED
                                          CODE

R & P OAKHILL, LLC                        2410-000           NA        4,160.00       4,160.00         4,160.00


R&P OAKHILL LLC                           2410-000           NA        4,160.00       4,160.00         4,160.00


R&P OAKHILL, LLC                          2410-000           NA        4,160.00       4,160.00         4,160.00


WOODLAKE (TEXAS)
PROPERTIES LTD.                           2410-000           NA        6,894.25       6,894.25         6,894.25


WOODLAKE (TEXAS)
PROPERTIES, LTD.                          2410-000           NA      27,577.00       27,577.00        27,577.00


WOOKLAKE (TEXAS)
PROPERTIES LTD.                           2410-000           NA        6,894.25       6,894.25         6,894.25


BANK OF NEW YORK MELLON                   2600-000           NA      12,876.27       12,876.27        12,876.27


UNION BANK                                2600-000           NA      18,166.93       18,166.93        18,166.93


CLERK, U.S BANKRUPTCY
COURT                                     2700-000           NA         350.00         350.00           350.00


UNITED STATES TRUSTEE                     2950-000           NA        5,200.00       5,200.00         5,200.00


COUGHLIN & GERHART, LLP                   2990-000           NA        2,736.48       2,736.48         2,736.48


MARK DICE                                 2990-000           NA     141,581.77            0.00             0.00


START UP 271 AS                           2990-000           NA    4,343,424.23           0.00             0.00


PENNEY, MAIER & WALLACH                   3110-000           NA     235,229.75      235,229.75       235,229.75


PENNEY, MAIER & WALLACH                   3120-000           NA         691.88         691.88           691.88




              Case 1-12-13685-CLB, Doc 1231, Filed 09/21/21, Entered 09/21/21 14:50:42,
     UST Form 101-7-TDR (10/1/2010) (Page: 6)
                               Description: Main Document , Page 6 of 79
                                          UNIFORM
                                                        CLAIMS      CLAIMS          CLAIMS
               PAYEE                       TRAN.                                                   CLAIMS PAID
                                                      SCHEDULED    ASSERTED        ALLOWED
                                           CODE

AMIGONE SANCHEZ &
MATTREY, LLP                               3210-000           NA      58,228.15       58,228.15         58,228.15


Amigone, Sanchez & Mattrey, LLP            3210-000           NA     112,000.00      112,000.00        112,000.00


DAMON MOREY LLP                            3210-000           NA     140,683.33      140,683.33        140,683.33


GROSS SHUMAN et al                         3210-000           NA     110,616.50      110,616.50        110,616.50


GROSS, SHUMAN, BRIZDLE &
GILFILLAN                                  3210-000           NA      72,500.00       72,500.00         72,500.00


WOODS OVIATT GILMAN LLP
(previously approved)                      3210-000           NA     470,983.34      470,983.34        470,983.34


Barclay Damon LLP                          3210-600           NA        3,000.00        3,000.00          3,000.00


DAMON MOREY LLP                            3220-000           NA      10,151.24       10,151.24         10,151.24


GROSS SHUMAN et al                         3220-000           NA        1,010.43        1,010.43          1,010.43


WOODS OVIATT GILMAN LLP
(previously approved)                      3220-000           NA     158,585.93      158,585.93        158,585.93


LUMSDEN MCCORMICK LLP
(previously approved)                      3310-000           NA      28,031.30       28,031.30         28,031.30

TOTAL CHAPTER 7 ADMIN. FEES                                  $NA   $6,247,213.01   $1,762,207.01     $1,762,207.01
AND CHARGES



            EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES




               Case 1-12-13685-CLB, Doc 1231, Filed 09/21/21, Entered 09/21/21 14:50:42,
      UST Form 101-7-TDR (10/1/2010) (Page: 7)
                                Description: Main Document , Page 7 of 79
                                          UNIFORM
                                                        CLAIMS      CLAIMS         CLAIMS
               PAYEE                       TRAN.                                                 CLAIMS PAID
                                                      SCHEDULED    ASSERTED       ALLOWED
                                           CODE

Prior Chapter Attorney for
Trustee/DIP Fees (Other Firm):
DAMON MOREY LLP                            6210-000           NA     171,506.54     171,506.54       171,506.54


Prior Chapter Attorney for
Trustee/DIP Fees (Other Firm):
GROSS SHUMAN BRIZDLE &
GILFILLAN PC                               6210-000           NA      17,717.88      17,717.88        17,717.88


Prior Chapter Attorney for
Trustee/DIP Fees (Other Firm):
GROSS, SHUMAN, BRIZDLE &
GILFILLAN,                                 6210-000           NA      85,000.00      85,000.00        85,000.00


Prior Chapter Attorney for
Trustee/DIP Fees (Other Firm):
REED SMITH LLP                             6210-000           NA     144,622.00     144,622.00       144,622.00


Prior Chapter Attorney for
Trustee/DIP Fees (Other Firm):
GROSS SHUMAN et al                         6210-160           NA      49,638.41      49,638.41        49,638.41


Prior Chapter Attorney for
Trustee/DIP Expenses (Other Firm):
DAMON MOREY LLP                            6220-000           NA       3,424.91       3,424.91         3,424.91


Prior Chapter Attorney for
Trustee/DIP Expenses (Other Firm):
GROSS, SHUMAN, BRIZDLE &
GILFILLAN,                                 6220-000           NA       1,942.43       1,942.43         1,942.43




               Case 1-12-13685-CLB, Doc 1231, Filed 09/21/21, Entered 09/21/21 14:50:42,
      UST Form 101-7-TDR (10/1/2010) (Page: 8)
                                Description: Main Document , Page 8 of 79
                                           UNIFORM
                                                         CLAIMS      CLAIMS          CLAIMS
                PAYEE                       TRAN.                                                  CLAIMS PAID
                                                       SCHEDULED    ASSERTED        ALLOWED
                                            CODE

Prior Chapter Attorney for
Trustee/DIP Expenses (Other Firm):
REED SMITH LLP                              6220-000           NA        3,540.39       3,540.39         3,540.39


Prior Chapter Accountant for
Trustee/DIP Fees (Other Firm):
OPPORTUNE LP                                6410-000           NA      129,975.16      75,000.00        75,000.00


Prior Chapter Other State or Local
Taxes: TEXAS WORKFORCE
COMMISSION                                  6820-000           NA        1,377.58       1,377.58         1,377.58


Prior Chapter Administrative Rent:
CZESLAW & MARIUSZ
TRACZYK                                     6920-000           NA       26,292.00      13,146.00        13,146.00


Prior Chapter Administrative Rent:
CZESLAW & TERESA TRACZYK                    6920-000           NA       51,510.00      25,755.00        25,755.00


Prior Chapter Administrative Rent:
EFS, LLC                                    6920-000           NA       70,725.00      61,500.00        61,500.00


Prior Chapter Administrative Rent:
ROBERT C. URBEN                             6920-000           NA        4,590.00       2,295.00         2,295.00


Prior Chapter Other Operating
Expenses: NAZIR ALI                         6950-000           NA       56,326.88           0.00             0.00

TOTAL PRIOR CHAPTER ADMIN.                                    $NA     $818,189.18    $656,466.14      $656,466.14
FEES AND CHARGES



             EXHIBIT 6 – PRIORITY UNSECURED CLAIMS




                Case 1-12-13685-CLB, Doc 1231, Filed 09/21/21, Entered 09/21/21 14:50:42,
       UST Form 101-7-TDR (10/1/2010) (Page: 9)
                                 Description: Main Document , Page 9 of 79
                                                               CLAIMS           CLAIMS
                                                  UNIFORM
                                                             SCHEDULED         ASSERTED          CLAIMS
CLAIM NO.              CLAIMANT                    TRAN.                                                     CLAIMS PAID
                                                              (from Form     (from Proofs of    ALLOWED
                                                   CODE
                                                                  6E)            Claim)

             Ali Nazir                                            3,375.00                NA          NA             0.00


             Barrows, Jeffrey                                       999.00                NA          NA             0.00


             Bronder, Steve                                         626.00                NA          NA             0.00


             Caporal, Richard                                     2,063.00                NA          NA             0.00


             Carless, Adrian                                      1,310.00                NA          NA             0.00


             Chris Steinhauser                                    4,268.00                NA          NA             0.00


             Cruz, Cheri                                            812.00                NA          NA             0.00


             DeMont, Rebecca                                        606.00                NA          NA             0.00


             Fulcher, Debra                                         851.00                NA          NA             0.00


             Holbrook, Ryan                                         982.00                NA          NA             0.00


             Mandel, Daniel                                         953.00                NA          NA             0.00


             Mark Dice                                            7,547.00                NA          NA             0.00


             Phonhrath, Kanlaya                                     690.00                NA          NA             0.00


             Testrake, Paula                                      1,040.00                NA          NA             0.00


             Zindler, Serena                                      2,188.00                NA          NA             0.00


48B          ANDREW J. HULL                       5100-000            NA     1,000,000,000.00         0.00           0.00




               Case 1-12-13685-CLB, Doc 1231, Filed 09/21/21, Entered 09/21/21 14:50:42,
      UST Form 101-7-TDR (10/1/2010) (Page: 10)
                                Description: Main Document , Page 10 of 79
                                                                 CLAIMS           CLAIMS
                                                    UNIFORM
                                                               SCHEDULED         ASSERTED          CLAIMS
CLAIM NO.                CLAIMANT                    TRAN.                                                      CLAIMS PAID
                                                                (from Form     (from Proofs of    ALLOWED
                                                     CODE
                                                                    6E)            Claim)

               MAPLE RIDGE BISON
49             RANCH INC.                           5200-000            NA            3,206.00           0.00            0.00


               WILLIAM H. & TRACEY A.
65             PHILHOWER                            5200-000            NA           23,971.28           0.00            0.00


32             DARLENE F. NOLTE                     5300-000            NA              444.79        444.79           444.79


17-2A          STUART LOEWENSTEIN                   5300-000            NA           11,725.00      11,725.00       11,725.00


54             TODD M. NOWAK                        5300-000            NA              543.00           0.00            0.00


55B            EDWARD J. KOVACK, Jr.                5600-000            NA              711.00           0.00            0.00


53             GERRY LOU WILLIAMS                   5600-000            NA            2,280.00           0.00            0.00


               HENRY A. & CHRISTINE
73A            BURNOR                               5600-000            NA            8,433.00           0.00            0.00


50             JERRY IRWIN                          5600-000            NA                 0.00          0.00            0.00


               CHENANGO COUNTY
59B            TREASURER                            5800-000            0.00          6,491.17           0.00            0.00


               DEPT OF LABOR AND
1B             INDUSTRY                             5800-000            NA              109.14        109.14           109.14


               INTERNAL REVENUE
               SERVICE                              5800-000            NA                  NA        967.31           967.31


               STATE OF NY DEPT OF
39             LABOR                                5800-000            NA              306.00        306.00             0.00




                 Case 1-12-13685-CLB, Doc 1231, Filed 09/21/21, Entered 09/21/21 14:50:42,
        UST Form 101-7-TDR (10/1/2010) (Page: 11)
                                  Description: Main Document , Page 11 of 79
                                                             CLAIMS             CLAIMS
                                                 UNIFORM
                                                           SCHEDULED           ASSERTED         CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                            (from Form       (from Proofs of   ALLOWED
                                                  CODE
                                                                6E)              Claim)

TOTAL PRIORITY UNSECURED                                      $28,310.00   $1,000,058,220.38     $13,552.24      $13,246.24
CLAIMS



            EXHIBIT 7 – GENERAL UNSECURED CLAIMS

                                                             CLAIMS             CLAIMS
                                                 UNIFORM
                                                           SCHEDULED           ASSERTED         CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                            (from Form       (from Proofs of   ALLOWED
                                                  CODE
                                                                6F)              Claim)

            A & P Water Testing                                     0.00                  NA           NA              0.00


            Adler Tank Rentals                                      0.00                  NA           NA              0.00


            ADP, Inc.                                               0.00                  NA           NA              0.00


            ADP, Inc.                                               0.00                  NA           NA              0.00


            Adsit Septic & Grading                                  0.00                  NA           NA              0.00


            ADT Security Services, inc.                             0.00                  NA           NA              0.00


            Afton Central School                                    0.00                  NA           NA              0.00


            AGCS Marine Insurance
            Company                                                 0.00                  NA           NA              0.00


            Airgas East Inc.                                        0.00                  NA           NA              0.00


            Albrecht & Associates Inc.                              0.00                  NA           NA              0.00


            Al-Kleen LLC                                            0.00                  NA           NA              0.00




              Case 1-12-13685-CLB, Doc 1231, Filed 09/21/21, Entered 09/21/21 14:50:42,
     UST Form 101-7-TDR (10/1/2010) (Page: 12)
                               Description: Main Document , Page 12 of 79
                                                             CLAIMS           CLAIMS
                                                 UNIFORM
                                                           SCHEDULED         ASSERTED         CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                 CLAIMS PAID
                                                            (from Form     (from Proofs of   ALLOWED
                                                  CODE
                                                                6F)            Claim)

            Amegy Bank of Texas                                     0.00                NA         NA           0.00


            Amegy Bank of Texas                                     0.00                NA         NA           0.00


            American Express                                        0.00                NA         NA           0.00


            Amy Jo Klein                                            0.00                NA         NA           0.00


            Anchor Drilling Fluids                                  0.00                NA         NA           0.00


            AP Professionals                                        0.00                NA         NA           0.00


            Apache Corporation                                      0.00                NA         NA           0.00


            Apex Chemical Inc.                                      0.00                NA         NA           0.00


            Appalachian Production
            Services Inc.                                           0.00                NA         NA           0.00


            Ardent Resources, Inc.                              1,195.50                NA         NA           0.00


            Avaya Financial Services                                0.00                NA         NA           0.00


            B & B Oilfield Equipment                                0.00                NA         NA           0.00


            Bankcard Center                                         0.00                NA         NA           0.00


            Barbara E. Annesi                                       0.00                NA         NA           0.00


            Barrows Wall Drilling &
            Pump Service                                            0.00                NA         NA           0.00


            Blue Dot Energy Services                                0.00                NA         NA           0.00




              Case 1-12-13685-CLB, Doc 1231, Filed 09/21/21, Entered 09/21/21 14:50:42,
     UST Form 101-7-TDR (10/1/2010) (Page: 13)
                               Description: Main Document , Page 13 of 79
                                                             CLAIMS            CLAIMS
                                                 UNIFORM
                                                           SCHEDULED          ASSERTED         CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                  CLAIMS PAID
                                                            (from Form      (from Proofs of   ALLOWED
                                                  CODE
                                                                6F)             Claim)

            BOGO Energy Corporation                                  0.00                NA         NA           0.00


            Braden Drilling LLC                               362,000.00                 NA         NA           0.00


            Bradford Drilling Assoc.                         3,305,600.14                NA         NA           0.00


            Bronder, Steve                                       1,010.64                NA         NA           0.00


            Broome County Clerk                                      0.00                NA         NA           0.00


            Bucci, Bailey & Javins, L.C.                             0.00                NA         NA           0.00


            Buffalo Association of Prof.
            Geologists                                               0.00                NA         NA           0.00


            Burke Pest Control Inc.                                  0.00                NA         NA           0.00


            Carless, Adrian                                      6,348.35                NA         NA           0.00


            Carthage Software, Inc.                                  0.00                NA         NA           0.00


            Casella Waste Systems, Inc.                              0.00                NA         NA           0.00


            Cattaraugus County Clerk                                 0.00                NA         NA           0.00


            Central Copier Service                                   0.00                NA         NA           0.00


            Central Plumbing & Heating                               0.00                NA         NA           0.00


            Charles E. Bevins, Jr.                                   0.00                NA         NA           0.00


            Chautauqua Abstract Co.                                  0.00                NA         NA           0.00




              Case 1-12-13685-CLB, Doc 1231, Filed 09/21/21, Entered 09/21/21 14:50:42,
     UST Form 101-7-TDR (10/1/2010) (Page: 14)
                               Description: Main Document , Page 14 of 79
                                                             CLAIMS           CLAIMS
                                                 UNIFORM
                                                           SCHEDULED         ASSERTED         CLAIMS
CLAIM NO.              CLAIMANT                   TRAN.                                                 CLAIMS PAID
                                                            (from Form     (from Proofs of   ALLOWED
                                                  CODE
                                                                6F)            Claim)

            Chautauqua County
            Department                                              0.00                NA         NA           0.00


            Chenango County Chamber of
            Commerce                                                0.00                NA         NA           0.00


            Chenango County Clerk                                   0.00                NA         NA           0.00


            Chenango County Sheriffs
            Deputies                                                0.00                NA         NA           0.00


            Chenango Welding Supply,
            LLC                                                     0.00                NA         NA           0.00


            Chesapeake Operating Inc.                               0.00                NA         NA           0.00


            Christman Motor Sales Inc.                              0.00                NA         NA           0.00


            Cimarex Energy Company,
            Inc.                                                    0.00                NA         NA           0.00


            Cintas Corporation                                      0.00                NA         NA           0.00


            City of Jamestown - Tax                                 0.00                NA         NA           0.00


            Clover Global Solutions                                 0.00                NA         NA           0.00


            Commissioner of Motor
            Vehicles                                                0.00                NA         NA           0.00


            Commissioner of Tax &
            Finance                                             3,000.00                NA         NA           0.00




              Case 1-12-13685-CLB, Doc 1231, Filed 09/21/21, Entered 09/21/21 14:50:42,
     UST Form 101-7-TDR (10/1/2010) (Page: 15)
                               Description: Main Document , Page 15 of 79
                                                             CLAIMS           CLAIMS
                                                 UNIFORM
                                                           SCHEDULED         ASSERTED         CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                 CLAIMS PAID
                                                            (from Form     (from Proofs of   ALLOWED
                                                  CODE
                                                                6F)            Claim)

            Commonwealth of PA
            Unemployment Compensation
            Fund                                                5,680.33                NA         NA           0.00


            Commonwealth of
            Pennsylvania                                            0.00                NA         NA           0.00


            Computer Solutions                                      0.00                NA         NA           0.00


            Corporate Investigations                                0.00                NA         NA           0.00


            Cortland County Clerk's
            Office                                                  0.00                NA         NA           0.00


            Crowe & Dunlevy P.C.                                    0.00                NA         NA           0.00


            Cruz, Cheri                                         1,311.81                NA         NA           0.00


            CT Corporation                                          0.00                NA         NA           0.00


            Curtis Lumber Company Inc.                              0.00                NA         NA           0.00


            D & D Electric                                          0.00                NA         NA           0.00


            D C Rauscher Inc.                                       0.00                NA         NA           0.00


            Dallas-Morris Drilling                                  0.00                NA         NA           0.00


            Damon Morey LLP                                         0.00                NA         NA           0.00


            DCP Midstream, LP                                       0.00                NA         NA           0.00




              Case 1-12-13685-CLB, Doc 1231, Filed 09/21/21, Entered 09/21/21 14:50:42,
     UST Form 101-7-TDR (10/1/2010) (Page: 16)
                               Description: Main Document , Page 16 of 79
                                                             CLAIMS           CLAIMS
                                                 UNIFORM
                                                           SCHEDULED         ASSERTED         CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                 CLAIMS PAID
                                                            (from Form     (from Proofs of   ALLOWED
                                                  CODE
                                                                6F)            Claim)

            Deborah L. Thomas Tax
            Collector                                               0.00                NA         NA           0.00


            Devon Energy Production Co.
            LP                                                      0.00                NA         NA           0.00


            DFT Communications                                      0.00                NA         NA           0.00


            Dice, Mark                                         57,692.19                NA         NA           0.00


            Dig Safely New York, Inc.                               0.00                NA         NA           0.00


            Digital Land Management
            Company, LLC                                       12,000.00                NA         NA           0.00


            DISH                                                    0.00                NA         NA           0.00


            Eastern States Sentinel Alarm
            Services Inc.                                           0.00                NA         NA           0.00


            Eaton Office Supply                                     0.00                NA         NA           0.00


            EcoLogical Analysis LLC                                 0.00                NA         NA           0.00


            Eland Energy, Inc.                                      0.00                NA         NA           0.00


            Empire Energy E & P, LLC                                0.00                NA         NA           0.00


            Energy Corporation of
            America                                                 0.00                NA         NA           0.00


            Environmental Sysems                                1,305.00                NA         NA           0.00




              Case 1-12-13685-CLB, Doc 1231, Filed 09/21/21, Entered 09/21/21 14:50:42,
     UST Form 101-7-TDR (10/1/2010) (Page: 17)
                               Description: Main Document , Page 17 of 79
                                                             CLAIMS           CLAIMS
                                                 UNIFORM
                                                           SCHEDULED         ASSERTED         CLAIMS
CLAIM NO.              CLAIMANT                   TRAN.                                                 CLAIMS PAID
                                                            (from Form     (from Proofs of   ALLOWED
                                                  CODE
                                                                6F)            Claim)

            EPS                                                     0.00                NA         NA           0.00


            Evans Geophysical, Inc.                                 0.00                NA         NA           0.00


            F. S. Lopke Contracting                                 0.00                NA         NA           0.00


            Fairmont Supply Oil and Gas
            LLC                                                     0.00                NA         NA           0.00


            FedEx Ground, Inc.                                      0.00                NA         NA           0.00


            Frontier Telephone of
            Rocheste                                                0.00                NA         NA           0.00


            Fulcher, Debra                                        573.03                NA         NA           0.00


            Gail M. Hoffman, Tax
            Collector                                               0.00                NA         NA           0.00


            Gallagher Printing, Inc.                                0.00                NA         NA           0.00


            Grant Street                                            0.00                NA         NA           0.00


            Hamilton Central School -
            Debra L. Kirley                                         0.00                NA         NA           0.00


            Hancock Estabrook, LLP                                  0.00                NA         NA           0.00


            Harding Shelton, Inc.                                   0.00                NA         NA           0.00


            Hart Energy Publishing, LP                              0.00                NA         NA           0.00


            Hayes Office Products                                   0.00                NA         NA           0.00




              Case 1-12-13685-CLB, Doc 1231, Filed 09/21/21, Entered 09/21/21 14:50:42,
     UST Form 101-7-TDR (10/1/2010) (Page: 18)
                               Description: Main Document , Page 18 of 79
                                                             CLAIMS           CLAIMS
                                                 UNIFORM
                                                           SCHEDULED         ASSERTED         CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                 CLAIMS PAID
                                                            (from Form     (from Proofs of   ALLOWED
                                                  CODE
                                                                6F)            Claim)

            Highmark Blue Shield                                    0.00                NA         NA           0.00


            Hiscock & Barclay                                       0.00                NA         NA           0.00


            Holbrook, Ryan                                      1,268.48                NA         NA           0.00


            Holden's Dispose-All                                   48.60                NA         NA           0.00


            Holden's Haulers                                        0.00                NA         NA           0.00


            Holly Fleming                                           0.00                NA         NA           0.00


            Hughes Network Systems                                  0.00                NA         NA           0.00


            Independent Health                                      0.00                NA         NA           0.00


            IOGA - NY                                               0.00                NA         NA           0.00


            J. Chris Steinhauser                                    0.00                NA         NA           0.00


            Jackson Walker LLP                                      0.00                NA         NA           0.00


            James Environmental LLC                               301.08                NA         NA           0.00


            James Hemstrought Tax
            Collect                                                 0.00                NA         NA           0.00


            Jamestown Awning, Inc.                                  0.00                NA         NA           0.00


            Johnson-Whitmeyer Plumbing                              0.00                NA         NA           0.00


            Kastle Resources Enterprises,
            Inc.                                                  141.20                NA         NA           0.00




              Case 1-12-13685-CLB, Doc 1231, Filed 09/21/21, Entered 09/21/21 14:50:42,
     UST Form 101-7-TDR (10/1/2010) (Page: 19)
                               Description: Main Document , Page 19 of 79
                                                             CLAIMS           CLAIMS
                                                 UNIFORM
                                                           SCHEDULED         ASSERTED         CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                 CLAIMS PAID
                                                            (from Form     (from Proofs of   ALLOWED
                                                  CODE
                                                                6F)            Claim)

            Kubinski Business Systems                               0.00                NA         NA           0.00


            L. J. Stein & Company, Inc.                             0.00                NA         NA           0.00


            Laughlin Lawn & Landscape                               0.00                NA         NA           0.00


            Law Office of Daya Wright,
            PLLC                                                    0.00                NA         NA           0.00


            Lenape Resources Inc.                                   0.00                NA         NA           0.00


            LexisNexis                                              0.00                NA         NA           0.00


            Lindhome & Songster P.C.                                0.00                NA         NA           0.00


            Linn Energy                                           252.17                NA         NA           0.00


            Louis J. Pinto, PE                                      0.00                NA         NA           0.00


            Lowe's                                                  0.00                NA         NA           0.00


            Mack Energy Co. Oil & Gas                               0.00                NA         NA           0.00


            Madison County Clerk                                    0.00                NA         NA           0.00


            Mandel, Daniel                                      2,925.35                NA         NA           0.00


            Manpower                                                0.00                NA         NA           0.00


            Marathon Oil Company                                    0.00                NA         NA           0.00


            Marie Whaley, Tax Collector                             0.00                NA         NA           0.00




              Case 1-12-13685-CLB, Doc 1231, Filed 09/21/21, Entered 09/21/21 14:50:42,
     UST Form 101-7-TDR (10/1/2010) (Page: 20)
                               Description: Main Document , Page 20 of 79
                                                             CLAIMS           CLAIMS
                                                 UNIFORM
                                                           SCHEDULED         ASSERTED         CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                 CLAIMS PAID
                                                            (from Form     (from Proofs of   ALLOWED
                                                  CODE
                                                                6F)            Claim)

            M-B Operating Co.                                       0.00                NA         NA           0.00


            McDonough Tax Collector                                 0.00                NA         NA           0.00


            McGee & Gelman                                          0.00                NA         NA           0.00


            McJunkin Red Man                                        0.00                NA         NA           0.00


            McMaster-Carr Supply Co.                                0.00                NA         NA           0.00


            MECS Tax Collector                                      0.00                NA         NA           0.00


            MetLife                                                 0.00                NA         NA           0.00


            Mid-City Office Equipment
            Inc.                                                    0.00                NA         NA           0.00


            Miller Movers LLC                                       0.00                NA         NA           0.00


            Minuteman Press                                         0.00                NA         NA           0.00


            Mirabito Fuel Group                                     0.00                NA         NA           0.00


            Mulcare Pipeline                                        0.00                NA         NA           0.00


            MVP Health Care, Inc.                                   0.00                NA         NA           0.00


            Natural Resources Land
            Services Corp.                                          0.00                NA         NA           0.00


            Nazir Ali                                          18,536.54                NA         NA           0.00


            NBT Bank                                                0.00                NA         NA           0.00




              Case 1-12-13685-CLB, Doc 1231, Filed 09/21/21, Entered 09/21/21 14:50:42,
     UST Form 101-7-TDR (10/1/2010) (Page: 21)
                               Description: Main Document , Page 21 of 79
                                                             CLAIMS           CLAIMS
                                                 UNIFORM
                                                           SCHEDULED         ASSERTED         CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                 CLAIMS PAID
                                                            (from Form     (from Proofs of   ALLOWED
                                                  CODE
                                                                6F)            Claim)

            NCPRPDC                                                 0.00                NA         NA           0.00


            Nelson & Flanagan                                       0.00                NA         NA           0.00


            New Tech Global Ventures
            LLC                                                     0.00                NA         NA           0.00


            Newfield Mid Continent                                372.99                NA         NA           0.00


            Newpoint LLC                                            0.00                NA         NA           0.00


            Newpoint Technologies LLC                               0.00                NA         NA           0.00


            Nex Traq                                                0.00                NA         NA           0.00


            Nilles Ford Mercury Inc.                                0.00                NA         NA           0.00


            Noise Solutions Inc.                                    0.00                NA         NA           0.00


            North Norwich Motors, LLC                               0.00                NA         NA           0.00


            North Penn Pipe & Supply                                0.00                NA         NA           0.00


            Northern Appalachia
            Landmans Assn.                                          0.00                NA         NA           0.00


            Northern Safety Co., Inc.                               0.00                NA         NA           0.00


            Norwich Tire Company, Inc.                              0.00                NA         NA           0.00


            Nutech Energy Alliance Ltd.                             0.00                NA         NA           0.00


            NYS Assessment Receivables                              0.00                NA         NA           0.00




              Case 1-12-13685-CLB, Doc 1231, Filed 09/21/21, Entered 09/21/21 14:50:42,
     UST Form 101-7-TDR (10/1/2010) (Page: 22)
                               Description: Main Document , Page 22 of 79
                                                             CLAIMS           CLAIMS
                                                 UNIFORM
                                                           SCHEDULED         ASSERTED         CLAIMS
CLAIM NO.              CLAIMANT                   TRAN.                                                 CLAIMS PAID
                                                            (from Form     (from Proofs of   ALLOWED
                                                  CODE
                                                                6F)            Claim)

            NYS DEC Div. of Mineral
            Resources                                               0.00                NA         NA           0.00


            NYS Dept. of Env.
            Conservation                                            0.00                NA         NA           0.00


            NYS. Dept. of Env.
            Conservation                                            0.00                NA         NA           0.00


            NYSEG                                                   0.00                NA         NA           0.00


            Office Team                                             0.00                NA         NA           0.00


            Oil & Gas Management, Inc.                              0.00                NA         NA           0.00


            Oklahoma Mineral Owner
            Registry                                                0.00                NA         NA           0.00


            Oneida-Madison Electric                                 0.00                NA         NA           0.00


            Otselic Valley Central School                           0.00                NA         NA           0.00


            outdoors Sportsman Club                                 0.00                NA         NA           0.00


            Oxford Central School Tax                               0.00                NA         NA           0.00


            PA Department of Revenue                                0.00                NA         NA           0.00


            Pa Dept. of Environmental
            Protection                                              0.00                NA         NA           0.00


            PAETEC                                                  0.00                NA         NA           0.00




              Case 1-12-13685-CLB, Doc 1231, Filed 09/21/21, Entered 09/21/21 14:50:42,
     UST Form 101-7-TDR (10/1/2010) (Page: 23)
                               Description: Main Document , Page 23 of 79
                                                             CLAIMS           CLAIMS
                                                 UNIFORM
                                                           SCHEDULED         ASSERTED         CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                 CLAIMS PAID
                                                            (from Form     (from Proofs of   ALLOWED
                                                  CODE
                                                                6F)            Claim)

            Pason Systems USA Corp.                                 0.00                NA         NA           0.00


            Paul E. Koerts Professional
            Land Surveying                                          0.00                NA         NA           0.00


            Paul E. Pool                                            0.00                NA         NA           0.00


            PDQ Service & Supplies                                  0.00                NA         NA           0.00


            Penncomp, LLC                                       1,094.14                NA         NA           0.00


            Pennsylvania Unemployment
            Comp Fund                                               0.00                NA         NA           0.00


            Penn-York Abstract Corp.                                0.00                NA         NA           0.00


            Penroc Oil Corporation                                  0.00                NA         NA           0.00


            Pete Insana Auto & Truck                                0.00                NA         NA           0.00


            Phonhrath, Kanlaya                                    650.55                NA         NA           0.00


            Pipeline Testing Consortium                             0.00                NA         NA           0.00


            Pitney Bowes Global                                   193.58                NA         NA           0.00


            Platts, Division of McGraw-
            Hill                                                    0.00                NA         NA           0.00


            Pope & Schrader, LLP                                    0.00                NA         NA           0.00


            Precision Energy Services,
            Inc.                                                    0.00                NA         NA           0.00




              Case 1-12-13685-CLB, Doc 1231, Filed 09/21/21, Entered 09/21/21 14:50:42,
     UST Form 101-7-TDR (10/1/2010) (Page: 24)
                               Description: Main Document , Page 24 of 79
                                                             CLAIMS           CLAIMS
                                                 UNIFORM
                                                           SCHEDULED         ASSERTED         CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                 CLAIMS PAID
                                                            (from Form     (from Proofs of   ALLOWED
                                                  CODE
                                                                6F)            Claim)

            PrimePay LLC                                            0.00                NA         NA           0.00


            Purchase Power                                          0.00                NA         NA           0.00


            Quick Phone                                            96.12                NA         NA           0.00


            R O Allen & Sons LLC                                    0.00                NA         NA           0.00


            R. L. Laughlin & Company,
            Inc.                                                    0.00                NA         NA           0.00


            Realty USA                                              0.00                NA         NA           0.00


            Reed Smith LLP                                      8,754.50                NA         NA           0.00


            Remote Automation Solutions                             0.00                NA         NA           0.00


            Rettew Associates Inc.                                  0.00                NA         NA           0.00


            Riehlman Family, LLC                                    0.00                NA         NA           0.00


            Right of Way Land                                       0.00                NA         NA           0.00


            Rodgers Land Surveying                                  0.00                NA         NA           0.00


            Rose & Associates LLP                                   0.00                NA         NA           0.00


            Safety Source Consultants
            Ltd.                                                    0.00                NA         NA           0.00


            Sam's Club                                              0.00                NA         NA           0.00


            Samson Resources Company                                0.00                NA         NA           0.00




              Case 1-12-13685-CLB, Doc 1231, Filed 09/21/21, Entered 09/21/21 14:50:42,
     UST Form 101-7-TDR (10/1/2010) (Page: 25)
                               Description: Main Document , Page 25 of 79
                                                             CLAIMS           CLAIMS
                                                 UNIFORM
                                                           SCHEDULED         ASSERTED         CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                 CLAIMS PAID
                                                            (from Form     (from Proofs of   ALLOWED
                                                  CODE
                                                                6F)            Claim)

            Schlumberger Technology
            Corporation                                             0.00                NA         NA           0.00


            School Tax Collector                                    0.00                NA         NA           0.00


            SECSD Tax Collector                                     0.00                NA         NA           0.00


            SEM Johnson Ref 12-031/2                                0.00                NA         NA           0.00


            Seneca Resources Corp.                              7,706.30                NA         NA           0.00


            Seneca Resources Corp.                                  0.00                NA         NA           0.00


            Serendipity Cafe                                        0.00                NA         NA           0.00


            Sherburne Wheelers ATV                                  0.00                NA         NA           0.00


            Sherburne-Earlville CSD                                 0.00                NA         NA           0.00


            Sheridan Production Company                             0.00                NA         NA           0.00


            Sherrard, Germ & Kelly, P.C.                          210.00                NA         NA           0.00


            Shred-It Buffalo                                        0.00                NA         NA           0.00


            Shred-It Utica Inc.                                     0.00                NA         NA           0.00


            Skelly & Loy, Inc.                                      0.00                NA         NA           0.00


            Skip's Market                                           0.00                NA         NA           0.00


            SM Energy Company                                       0.00                NA         NA           0.00




              Case 1-12-13685-CLB, Doc 1231, Filed 09/21/21, Entered 09/21/21 14:50:42,
     UST Form 101-7-TDR (10/1/2010) (Page: 26)
                               Description: Main Document , Page 26 of 79
                                                             CLAIMS           CLAIMS
                                                 UNIFORM
                                                           SCHEDULED         ASSERTED         CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                 CLAIMS PAID
                                                            (from Form     (from Proofs of   ALLOWED
                                                  CODE
                                                                6F)            Claim)

            Smith Ford, LLC                                         0.00                NA         NA           0.00


            Smyrna Hillbillies, LLC                                 0.00                NA         NA           0.00


            Southworth-Milton Inc.                                  0.00                NA         NA           0.00


            Stanley Law Offices                                     0.00                NA         NA           0.00


            Stedman Energy, Inc.                                    0.00                NA         NA           0.00


            Steelhammer & Miller, P.C.                              0.00                NA         NA           0.00


            Steinhauser, James 'Chris'                          5,330.77                NA         NA           0.00


            Stephen F. Bolles                                       0.00                NA         NA           0.00


            Sterling Seismic Services                               0.00                NA         NA           0.00


            Strick Law Firm, PLLC                                   0.00                NA         NA           0.00


            Stryker Energy, LLC                                16,453.48                NA         NA           0.00


            Suburban Propane                                        0.00                NA         NA           0.00


            Sunoco, Inc.                                            0.00                NA         NA           0.00


            Susie Granger, Town Clerk                               0.00                NA         NA           0.00


            Susquehanna River Basin
            Commission                                              0.00                NA         NA           0.00


            The Evening Sun                                         0.00                NA         NA           0.00




              Case 1-12-13685-CLB, Doc 1231, Filed 09/21/21, Entered 09/21/21 14:50:42,
     UST Form 101-7-TDR (10/1/2010) (Page: 27)
                               Description: Main Document , Page 27 of 79
                                                             CLAIMS           CLAIMS
                                                 UNIFORM
                                                           SCHEDULED         ASSERTED         CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                 CLAIMS PAID
                                                            (from Form     (from Proofs of   ALLOWED
                                                  CODE
                                                                6F)            Claim)

            The Night Shift                                         0.00                NA         NA           0.00


            The Palmerton Group LLC                                 0.00                NA         NA           0.00


            Theresa Schultheis Tax
            Collector                                               0.00                NA         NA           0.00


            Time Warner Cable                                       0.00                NA         NA           0.00


            Time Warner Cable                                       0.00                NA         NA           0.00


            Time Warner Cable                                       0.00                NA         NA           0.00


            Todd Campbell                                           0.00                NA         NA           0.00


            Tomi Stewart Tax Collector                              0.00                NA         NA           0.00


            Town of Eaton, Debra Clark
            Tax Collector                                           0.00                NA         NA           0.00


            Town of Kiantone                                        0.00                NA         NA           0.00


            Town of Lebanon                                         0.00                NA         NA           0.00


            Tractor Supply Co.                                      0.00                NA         NA           0.00


            Travelers Indemnity &
            Affiliates                                              0.00                NA         NA           0.00


            Tri Valley Septic Service Inc.                          0.00                NA         NA           0.00


            Tri-Bro Supply                                          0.00                NA         NA           0.00




              Case 1-12-13685-CLB, Doc 1231, Filed 09/21/21, Entered 09/21/21 14:50:42,
     UST Form 101-7-TDR (10/1/2010) (Page: 28)
                               Description: Main Document , Page 28 of 79
                                                             CLAIMS            CLAIMS
                                                 UNIFORM
                                                           SCHEDULED          ASSERTED         CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                  CLAIMS PAID
                                                            (from Form      (from Proofs of   ALLOWED
                                                  CODE
                                                                6F)             Claim)

            Troy Construction                                        0.00                NA         NA           0.00


            Tru-Gas, Inc.                                            0.00                NA         NA           0.00


            United Refining Company                                  0.00                NA         NA           0.00


            United States Treasury,
            Internal Revenue Service                                 0.00                NA         NA           0.00


            USA Compression                                          0.00                NA         NA           0.00


            Vandermark                                       3,208,015.75                NA         NA           0.00


            Veritext new York Reporting
            Co.                                                      0.00                NA         NA           0.00


            Verizon - 15026                                          0.00                NA         NA           0.00


            Verizon Conferencing                                     0.00                NA         NA           0.00


            Verizon Conferencing                                  104.27                 NA         NA           0.00


            Verizon Wireless                                         0.00                NA         NA           0.00


            Verizon Wireless                                         0.00                NA         NA           0.00


            Verizon Wireless - 408                                   0.00                NA         NA           0.00


            Warren American Oil
            Company                                                  0.00                NA         NA           0.00


            Waste Treatment Corp.                                    0.00                NA         NA           0.00




              Case 1-12-13685-CLB, Doc 1231, Filed 09/21/21, Entered 09/21/21 14:50:42,
     UST Form 101-7-TDR (10/1/2010) (Page: 29)
                               Description: Main Document , Page 29 of 79
                                                              CLAIMS            CLAIMS
                                                 UNIFORM
                                                            SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                         CLAIMS PAID
                                                             (from Form      (from Proofs of    ALLOWED
                                                  CODE
                                                                 6F)             Claim)

            Weatherford US, LP                                        0.00                NA             NA              0.00


            Wegmans Food Markets                                      0.00                NA             NA              0.00


            Who's We, LLC                                             0.00                NA             NA              0.00


            Williams Scotsman Inc.                                    0.00                NA             NA              0.00


            Windstream                                                0.00                NA             NA              0.00


            Wright Express FSC                                        0.00                NA             NA              0.00


            Wright, Wright & Hampton                                  0.00                NA             NA              0.00


            XTO Energy, Inc.                                       437.98                 NA             NA              0.00


            Zindler, Serena                                       9,894.23                NA             NA              0.00


61          ANNA ZEC HOUBEN                      7100-000             NA            7,134.80             0.00            0.00


10          AT&T MOBILITY II LLC                 7100-000             0.00            674.18          674.18            23.14


21          B.P. OLIVERIO ESQ.                   7100-000       24,176.25          44,923.75       44,923.75         1,542.14


            BP AMERICA
27          PRODUCTION COMPANY                   7100-000             0.00               0.00            0.00            0.00


            BRADFORD DRILLING
25          ASSOCIATES, XXIX,                    7100-000     4,344,399.86     19,682,700.48     5,500,000.00      188,804.07


            CHENANGO CONCRETE
46          CORP.                                7100-000             NA           60,067.80             0.00            0.00




              Case 1-12-13685-CLB, Doc 1231, Filed 09/21/21, Entered 09/21/21 14:50:42,
     UST Form 101-7-TDR (10/1/2010) (Page: 30)
                               Description: Main Document , Page 30 of 79
                                                                CLAIMS           CLAIMS
                                                   UNIFORM
                                                              SCHEDULED         ASSERTED          CLAIMS
CLAIM NO.               CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                               (from Form     (from Proofs of    ALLOWED
                                                    CODE
                                                                   6F)            Claim)

              CIT TECHNOLOGY
3             FINANCING SERVICES,                  7100-000            NA            2,291.15        2,291.15            0.00


              CZESLAW & MARIUSZ
71B           TRACZYK                              7100-000            NA           51,510.00       25,755.00          884.12


              CZESLAW & MARIUSZ
72B           TRACZYK                              7100-000            NA           26,292.00       13,146.00          451.27


              DAVID G. & LINDA
75            SHAFFER                              7100-000            NA           10,400.00            0.00            0.00


              DOMINION
28-2          TRANSMISSION, INC.                   7100-000            0.00        130,966.83      130,966.83        4,495.83


              DOMINION
29-2          TRANSMISSION, INC.                   7100-000            0.00        808,532.87      808,532.87       27,755.33


              DONALD & SHARON
69            BOISE                                7100-000            NA           31,100.00            0.00            0.00


              DONALD ROSSI &
31            GREGORY HEITMANN                     7100-000            NA          250,000.00         500.90            17.19


79B           EFS, LLC                             7100-000            NA           70,725.00        9,225.00          316.67


              ELEANOR J. & ANTHONY
56            R. MUSCARELLA                        7100-000            NA              600.00            0.00            0.00


24-2          EMKEY RESOURCES, LLC                 7100-000        1,828.66               0.00           0.00            0.00




                Case 1-12-13685-CLB, Doc 1231, Filed 09/21/21, Entered 09/21/21 14:50:42,
       UST Form 101-7-TDR (10/1/2010) (Page: 31)
                                 Description: Main Document , Page 31 of 79
                                                               CLAIMS            CLAIMS
                                                  UNIFORM
                                                             SCHEDULED          ASSERTED         CLAIMS
CLAIM NO.              CLAIMANT                    TRAN.                                                      CLAIMS PAID
                                                              (from Form      (from Proofs of   ALLOWED
                                                   CODE
                                                                  6F)             Claim)

             ERM CONSULTING &
5            ENGINEERING, INC.                    7100-000         2,861.81          4,855.78      4,855.78          166.69


             FRANK H. MAYNARD
76           AND GLORIA T., Jr.                   7100-000             NA           17,495.00          0.00            0.00


4            GECITS                               7100-000             NA           15,984.33     15,984.33          548.71


             HENRY A. & CHRISTINE
73B          BURNOR                               7100-000             NA            8,433.00          0.00            0.00


             HISCOCK & BARCLAY,
18           LLP,                                 7100-000             0.00            247.50       247.50             8.50


             HISCOCK & BARCLAY,
19           LLP,                                 7100-000       19,849.48          28,719.04     28,719.04          985.87


             HOPE D. MATTHEWS,
68           INDIVIDUALLY & HO                    7100-000             NA           50,000.00          0.00            0.00


             INTERNAL REVENUE
             SERVICE                              7100-000             NA                  NA       395.76           395.76


74           J. CHRIS STEINHAUSER                 7100-000             NA           73,220.80          0.00            0.00


36           JEFFREY BARROWS                      7100-000         3,596.90            332.84       332.84             0.00


             JORDAN ASHCRAFT AND
34           QUINN FITZPATRI                      7100-000     2,500,000.00      1,000,000.00          0.00            0.00


             JOSEPH M. & PATRICIA A.
81           CATURANO                             7100-000             NA            5,958.00          0.00            0.00




               Case 1-12-13685-CLB, Doc 1231, Filed 09/21/21, Entered 09/21/21 14:50:42,
      UST Form 101-7-TDR (10/1/2010) (Page: 32)
                                Description: Main Document , Page 32 of 79
                                                               CLAIMS            CLAIMS
                                                  UNIFORM
                                                             SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.              CLAIMANT                    TRAN.                                                        CLAIMS PAID
                                                              (from Form      (from Proofs of    ALLOWED
                                                   CODE
                                                                  6F)             Claim)

             KEY EQUIPMENT
15           FINANCE INC.                         7100-000          226.31           2,554.57        2,554.57           87.69


26           L. P. HN VENTURE                     7100-000             NA           80,371.32       80,371.32            0.00


             LARRY NELSON/TARA
51           TRUETT                               7100-000             NA                 0.00           0.00            0.00


             LOEWENSTEIN LAND &
16           CATTLE LLC                           7100-000             0.00         83,000.00            0.00            0.00


80           MARGARET M. DAIRE                    7100-000             NA            3,000.00            0.00            0.00


             MICHAEL E. & DIANNE M.
63           LAMANNA                              7100-000             NA           10,000.00            0.00            0.00


77           MILDRED C. WATERS                    7100-000             NA                 0.00           0.00            0.00


             NATIONAL FUEL GAS
20           DISTRIBUTION CORP                    7100-000          227.89             373.02         373.02            12.81


2            NYSEG                                7100-000           39.74           6,195.99        6,195.99          212.70


22           PHILLIP OZDEMIR                      7100-000             NA        4,550,000.00       50,000.00        1,716.40


             PLYMOUTH RESOURCES,
12           LLC                                  7100-000    19,000,000.00     19,000,000.00       12,292.46            0.00


11           R&P OAK HILL, LLC                    7100-000             0.00        141,622.00      141,622.00        4,861.60


60B          ROBERT C. URBEN                      7100-000             NA            4,590.00        2,295.00           78.78




               Case 1-12-13685-CLB, Doc 1231, Filed 09/21/21, Entered 09/21/21 14:50:42,
      UST Form 101-7-TDR (10/1/2010) (Page: 33)
                                Description: Main Document , Page 33 of 79
                                                                 CLAIMS            CLAIMS
                                                    UNIFORM
                                                               SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.                CLAIMANT                    TRAN.                                                        CLAIMS PAID
                                                                (from Form      (from Proofs of    ALLOWED
                                                     CODE
                                                                    6F)             Claim)

67             ROBERTA L. MUZZY                     7100-000             NA              492.40            0.00            0.00


               ROGER LEE MATHESON,
8              II                                   7100-000             0.00        500,000.00            0.00            0.00


35             S. DENNIS HOLBROOK                   7100-000         4,375.00          3,359.40            0.00            0.00


42             S. DENNIS HOLBROOK                   7100-000       28,269.23         455,800.00            0.00            0.00


               SANDY BONELL PIERCE
23             AND DREW F. PIA                      7100-000      250,000.00         250,000.00            0.00            0.00


               SOMERSET PRODUCTION
33             CO., LLC                             7100-000             NA                 0.00       2,728.89           93.68


               SOMERSET PRODUCTION
45             COMPANY, LLC                         7100-000         2,728.89          2,728.89            0.00            0.00


14             STRYKER ENERGY, LLC                  7100-000     2,000,000.00      3,569,803.50            0.00            0.00


17-2B          STUART LOEWENSTEIN                   7100-000      200,371.58         271,646.58      139,743.54        4,797.12


               SUMMER HILL LODGE,
7              LLC                                  7100-000         8,000.00         27,461.08       27,461.08          942.68


52             THEODORE F. HUBBARD                  7100-000             NA                 0.00           0.00            0.00


               WELLS FARGO BANK,
               N.A.                                 7100-000             NA           45,659.41       45,659.41        1,567.40


30             WESTWOOD ACRES, INC.                 7100-000             0.00          3,000.00            0.00            0.00




                 Case 1-12-13685-CLB, Doc 1231, Filed 09/21/21, Entered 09/21/21 14:50:42,
        UST Form 101-7-TDR (10/1/2010) (Page: 34)
                                  Description: Main Document , Page 34 of 79
                                                              CLAIMS            CLAIMS
                                                 UNIFORM
                                                            SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                         CLAIMS PAID
                                                             (from Form      (from Proofs of    ALLOWED
                                                  CODE
                                                                 6F)             Claim)

            WILLIAM A. & CATHRYN
62          S. RICKARD                           7100-000             NA            9,500.00             0.00             0.00


            WILLIAM R. & JEAN A.
57          MCCRACKEN                            7100-000             NA          116,806.50             0.00             0.00


            WILLIAM R. & JEAN A.
82          MCCRACKEN                            7100-000             NA          116,806.50             0.00             0.00


            CRYSTAL ROCK WATER
13          CO.                                  7100-001             0.00              28.26          28.26              0.97


6           NATIONAL GRID                        7100-001             NA              108.03          108.03              3.71


9           UNITED PARCEL SERVICE 7100-001                          55.46               77.15          77.15              2.65


            Clerk U. S. Bankruptcy Court         7100-900             NA            3,577.05         3,577.05         3,577.05


83          DNOW L. P.                           7200-000             NA              932.12          932.12              0.00

TOTAL GENERAL UNSECURED                                     $35,431,512.13   $51,642,658.92     $7,102,570.82      $244,350.53
CLAIMS




              Case 1-12-13685-CLB, Doc 1231, Filed 09/21/21, Entered 09/21/21 14:50:42,
     UST Form 101-7-TDR (10/1/2010) (Page: 35)
                               Description: Main Document , Page 35 of 79
                                                                                                                                                                                                 Page:       1

                                                                                     FORM 1
                                                                 INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                  ASSET CASES
                                                                                                                                                                                                     Exhibit 8
Case No:              12-13685                             CLB   Judge:        Carl L. Bucki                               Trustee Name:                      MARK S. WALLACH, TRUSTEE
Case Name:            NORSE ENERGY CORP. USA, A CORPORATI                                                                  Date Filed (f) or Converted (c):   10/10/2013 (c)
                                                                                                                           341(a) Meeting Date:               11/19/2013
For Period Ending:    08/30/2021                                                                                           Claims Bar Date:                   08/21/2014


                                     1                                        2                           3                             4                          5                             6

                         Asset Description                                  Petition/               Est Net Value               Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                     Unscheduled           (Value Determined by               Abandoned                  Received by                Administered (FA)/
                                                                            Values               Trustee, Less Liens,              OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                     Exemptions,                                                                               Assets
                                                                                                   and Other Costs)

  1. Varied Interests in Real Property                                            972,920.00                  972,920.00                                                       0.00                        FA
  2. Revenue Account #0000326917                                                    1,688.00                    1,688.00                                                 4,073.32                          FA
  3. Operating Account #0000303607                                              1,037,758.39              1,037,758.39                                                  95,221.47                          FA
  4. Security Deposit on Lease with Summer Hill Lodge                              13,000.00                   13,000.00                                                       0.00                        FA
  5. Computers/Other AV Equip, Misc Office Equip                                   71,598.01                   71,598.01                                                       0.00                        FA
  6. Insurance - Auto, Liab, Work Comp etc.                                              0.00                       0.00                                                       0.00                        FA
  7. Insurance - Well Control                                                            0.00                       0.00                                                       0.00                        FA
  8. Insurance - Business Property                                                       0.00                       0.00                                                       0.00                        FA
  9. Stock - Vandermark Exploration Inc.                                                 0.00                       0.00                                                68,800.00                          FA
 10. Int in Partnership - Somerset Production Co                                         0.00                       1.00                                                       0.00                        FA
 11. Accounts Receivable                                                      10,533,769.32              10,533,769.32                                                         0.00                        FA
 12. Equitable or future interests                                                       0.00                       0.00                                                       0.00                        FA
 13. Wells Fargo 9100                            (u)                                     0.00                 520,196.76                                               520,196.76                          FA
 14. Wells Fargo 5432                            (u)                                     0.00                 212,935.42                                               212,935.42                          FA
 15. Wells Fargo 9308                            (u)                                     0.00                    100.00                                                     100.00                         FA
 16. Wells Fargo 9316                            (u)                                     0.00                    100.00                                                     100.00                         FA
 17. Gas Sales/Royalties                         (u)                                     0.00                       0.00                                                43,171.21                          FA
 18. Refunds                             (u)                                             0.00                       0.00                                                11,587.02                          FA
 19. 363/365 Sale of Assets                       (u)                                    0.00             2,650,000.00                                              2,650,000.00                           FA
 20. 549 claim vs Wells Fargo                        (u)                                 0.00                  45,659.41                                                45,659.41                          FA
 21. D & O AP                              (u)                                           0.00             1,985,000.00                                              1,985,000.00                           FA
 22. Chicago Title Esc. (Hartz)                   (u)                                    0.00                  35,025.94                                                42,525.94                          FA
 23. Miscellaneous Receipts                          (u)                                 0.00                     72.44                                                      72.44                         FA
 24. Multishot Escrow                          (u)                                       0.00                       0.00                                               281,507.25                          FA


                                         Case 1-12-13685-CLB, Doc 1231, Filed 09/21/21, Entered 09/21/21 14:50:42,
      UST Form 101-7-TDR (10/1/2010) (Page: 36)
                                                          Description: Main Document , Page 36 of 79
                                                                                                                                                                                                      Page:        2

                                                                                            FORM 1
                                                                        INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                         ASSET CASES
                                                                                                                                                                                                          Exhibit 8
Case No:              12-13685                         CLB             Judge:          Carl L. Bucki                              Trustee Name:                      MARK S. WALLACH, TRUSTEE
Case Name:            NORSE ENERGY CORP. USA, A CORPORATI                                                                         Date Filed (f) or Converted (c):   10/10/2013 (c)
                                                                                                                                  341(a) Meeting Date:               11/19/2013
For Period Ending:    08/30/2021                                                                                                  Claims Bar Date:                   08/21/2014


                                   1                                                   2                          3                            4                          5                           6

                         Asset Description                                        Petition/                 Est Net Value              Property Formally             Sale/Funds                   Asset Fully
             (Scheduled and Unscheduled (u) Property)                           Unscheduled             (Value Determined by              Abandoned                  Received by              Administered (FA)/
                                                                                  Values                 Trustee, Less Liens,             OA=554(a)                   the Estate           Gross Value of Remaining
                                                                                                             Exemptions,                                                                            Assets
                                                                                                           and Other Costs)

 25. Stryker Escrow                          (u)                                                 0.00                      0.00                                               320,000.00                         FA
 26. Claim filed in Norway Grandparent case (u)                                                  0.00                 3,158.43                                                  3,158.43                         FA


                                                                                                                                                                                   Gross Value of Remaining Assets
  TOTALS (Excluding Unknown Values)                                                   $12,630,733.72            $18,082,983.12                                           $6,284,108.67                        $0.00
                                                                                                                                                                                   (Total Dollar Amount in Column 6)


  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:

  Leases/ROWs sold or rejected. AP vs former officers and directors is pending resolution.
  9/10/15 A.P. still pending against former D & Os and AIG.

  7/21/16 A.P. remains pending against former D & O's and AIG.

  9/27/17 D & O A.P. remains pending

  9/16/19 Awaiting approval of settlement of D & O A.P. and then claims to resolve, tax returns etc.

  9/15/20 Awaiting final claims resolution and then case will be in closing posture




                                          Case 1-12-13685-CLB, Doc 1231, Filed 09/21/21, Entered 09/21/21 14:50:42,
      UST Form 101-7-TDR (10/1/2010) (Page: 37)
                                                           Description: Main Document , Page 37 of 79
                                                                                                                              Page:    3


RE PROP #             1   --   Sold see asset #19
RE PROP #             2   --   $4073.32 turned over by Amegy Bank after conversion.
                                                                                                                               Exhibit 8
RE PROP #             3   --   $95221.47 turned over after conversion to Ch 7 by Amegy Bank
RE PROP #             4   --   Setoff
RE PROP #             5   --   Sold - see asset #19
RE PROP #            11   --   sold - see asset #19
RE PROP #            21   --   Special Counsel Appointed.
                               Settled 8/8/19 via Mediation With Michael Young, Esq..
                               After payment of Special Counsel 33 1/3% contingency fees and expenses, followed by
                               payment of 33 1/3% of remaining balance to DIP Lender, Estate keeps balance without
                               any further obligation to DIP Lender.
RE PROP #            22   --   Estate's portion of escrow per Order entered 10/29/14
RE PROP #            24   --   Special Counsel appointed

                               See settlement Order.
RE PROP #            25   --   Special Counsel appointed

                               Settlement Order entered 3/10/17. Estate to receive $35,800.00 carveout, Special
                               Counsel $112,000.00 and DIP Lender $172,200.00.
RE PROP #            26   --   Dividend from Norway case

Initial Projected Date of Final Report (TFR): 12/31/2016           Current Projected Date of Final Report (TFR): 06/30/2021




                                        Case 1-12-13685-CLB, Doc 1231, Filed 09/21/21, Entered 09/21/21 14:50:42,
    UST Form 101-7-TDR (10/1/2010) (Page: 38)
                                                         Description: Main Document , Page 38 of 79
                                                                                                                                                                                                         Page:           1

                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 12-13685                                                                                                  Trustee Name: MARK S. WALLACH, TRUSTEE                                      Exhibit 9
      Case Name: NORSE ENERGY CORP. USA, A CORPORATI                                                                             Bank Name: Union Bank
                                                                                                                     Account Number/CD#: XXXXXX3034
                                                                                                                                               Checking DIP Lender Security
  Taxpayer ID No: XX-XXX8903                                                                                 Blanket Bond (per case limit): $10,016,210.00
For Period Ending: 08/30/2021                                                                                Separate Bond (if applicable):


       1                2                             3                                                 4                                                     5                      6                      7

Transaction Date    Check or                Paid To / Received From                         Description of Transaction                 Uniform Tran.     Deposits ($)         Disbursements ($)     Account/CD Balance
                    Reference                                                                                                              Code                                                             ($)
   03/18/16             9         LENAPE ENTERPRISES LLC                    Sale of Stock                                               1129-000             $68,800.00                                    $68,800.00

   03/23/16           20001       START UP 271 AS                           Sale - Vandermark Exploration                               4210-000                                     $58,800.00            $10,000.00
                                                                            Stock Intent to Sell (Docket No.
                                                                            959)
   03/23/16           20002       MARK S. WALLACH, TRUSTEE IN               Estate Carve-Out Vandermark                                 9999-002                                     $10,000.00                   $0.00
                                  BANKRUP                                   Stock Intent to Sell (Docket No.
                                  for Norse Energy Corp. USA                959)
   04/25/16                       UNION BANK                                BANK SERVICE FEE                                            2600-000                                          $36.18                ($36.18)

   04/28/16                       BARCLAY, DAMON                            Multishot Settlement Proceeds                                                   $273,507.25                                   $273,471.07

                                                                            Gross Receipts                               $281,507.25

                                  Barclay Damon LLP                         Escrow Attorney's Fees                       ($3,000.00)    3210-600

                                  Multi-Shot LLC                            Pre-Petition Lien                            ($5,000.00)    4120-000

                       24                                                   Multishot Escrow                             $281,507.25    1221-000

   04/28/16           20003       AMIGONE SANCHEZ & MATTREY, LLP            Special Counsel Fees                                        3210-000                                     $58,228.15           $215,242.92

   04/28/16           20004       MARK S. WALLACH TRUSTEE IN                Estate Carve-Out re Multi-Shot                              9999-002                                     $32,270.70           $182,972.22
                                  BANKRUPT                                  Sett per Order 4/1/16
                                  of Norse Energy Corp. USA
   04/28/16           20005       START UP 271 AS                           Multi-Shot Settlement per                                   4210-000                                    $183,008.40                 ($36.18)
                                                                            Order entered 4/1/16
   04/29/16                       UNION BANK                                BANK SERVICE FEE CREDIT                                     2600-000                                         ($36.18)                 $0.00

   04/27/17            25         BP Oliverio, Esq.                         Stryker Settlement Proceeds                                 1221-000            $320,000.00                                   $320,000.00

   05/08/17           20006       Amigone, Sanchez & Mattrey, LLP           Special Counsel Fees                                        3210-000                                    $112,000.00           $208,000.00
                                  c/o Baumeister Denz, LLP                  Per Order 3/10/17
                                  Attorneys at Law
                                  174 Franklin Street, Suite 2
                                  Buffalo, NY 14202
                                  Attention: B.P. Oliverio, Esq.


                                         Case 1-12-13685-CLB, DocPage1231,     Filed 09/21/21, Entered 09/21/21 $662,307.25
                                                                        Subtotals:                              14:50:42,                                                           $454,307.25
        UST Form 101-7-TDR (10/1/2010) (Page: 39)
                                                          Description: Main Document , Page 39 of 79
                                                                                                                                                                                                   Page:           2

                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 12-13685                                                                                              Trustee Name: MARK S. WALLACH, TRUSTEE                                    Exhibit 9
      Case Name: NORSE ENERGY CORP. USA, A CORPORATI                                                                        Bank Name: Union Bank
                                                                                                                   Account Number/CD#: XXXXXX3034
                                                                                                                                          Checking DIP Lender Security
  Taxpayer ID No: XX-XXX8903                                                                               Blanket Bond (per case limit): $10,016,210.00
For Period Ending: 08/30/2021                                                                            Separate Bond (if applicable):


       1                2                             3                                             4                                                      5                    6                     7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction               Uniform Tran.      Deposits ($)         Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                             ($)
   05/08/17           20007       START UP 271 AS                           Stryker Settlement Per Order                           4210-000                                    $172,200.00           $35,800.00
                                  c/o If P&C Insurance Holding Ltd.         3/10/17
                                  Attn: Anton Also
                                  Investment Management
                                  106 80 Stockholm, Sweden
   05/08/17                       Transfer to Acct # xxxxxx3216             Carveout re Stryker Settlement                         9999-000                                     $35,800.00                 $0.00
                                                                            Order 3/10/17


                                                                                                             COLUMN TOTALS                             $662,307.25             $662,307.25
                                                                                                                   Less: Bank Transfers/CD's                   $0.00            $78,070.70
                                                                                                             Subtotal                                  $662,307.25             $584,236.55
                                                                                                                   Less: Payments to Debtors                   $0.00                  $0.00
                                                                                                             Net                                       $662,307.25             $584,236.55




                                         Case 1-12-13685-CLB, DocPage1231,     Filed 09/21/21, Entered 09/21/21 14:50:42,
                                                                        Subtotals:                                  $0.00                                                      $208,000.00
        UST Form 101-7-TDR (10/1/2010) (Page: 40)
                                                          Description: Main Document , Page 40 of 79
                                                                                                                                                                                                 Page:           3

                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 12-13685                                                                                            Trustee Name: MARK S. WALLACH, TRUSTEE                                    Exhibit 9
      Case Name: NORSE ENERGY CORP. USA, A CORPORATI                                                                       Bank Name: Union Bank
                                                                                                                  Account Number/CD#: XXXXXX3208
                                                                                                                                           Lease sale proceeds s/t Carveout
  Taxpayer ID No: XX-XXX8903                                                                              Blanket Bond (per case limit): $10,016,210.00
For Period Ending: 08/30/2021                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                     5                  6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.        Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                           ($)
   07/30/15                       Transfer from Acct # XXXXXX1265           Bank Funds Transfer                                   9999-000               $242,209.67                              $242,209.67

   08/25/15           20001       Reverses Check # 20001                    Bond #016029057                                       2300-000                                    ($1,097.21)         $243,306.88
                                                                            Incorrect premium amount used
   08/25/15           20001       INTERNATIONAL SURETIES, LTD.              Bond #016029057 Term:                                 2300-000                                     $1,097.21          $242,209.67
                                  701 Poydras Street, Suite 420New          9/1/15 - 9/1/16
                                  Orleans, LA 70139
   08/25/15           20002       INTERNATIONAL SURETIES, LTD.              Bond #016029057 Term:                                 2300-000                                        $502.90         $241,706.77
                                  701 Poydras Street, Suite 420New          9/1/15 - 9/1/16
                                  Orleans, LA 70139
   08/25/15                       UNION BANK                                BANK SERVICE FEE                                      2600-000                                         $23.22         $241,683.55

   09/25/15                       UNION BANK                                BANK SERVICE FEE                                      2600-000                                        $359.99         $241,323.56

   10/26/15                       UNION BANK                                BANK SERVICE FEE                                      2600-000                                        $347.52         $240,976.04

   11/25/15                       UNION BANK                                BANK SERVICE FEE                                      2600-000                                        $358.58         $240,617.46

   12/28/15                       UNION BANK                                BANK SERVICE FEE                                      2600-000                                        $346.51         $240,270.95

   01/25/16                       UNION BANK                                BANK SERVICE FEE                                      2600-000                                        $357.56         $239,913.39

   02/25/16                       UNION BANK                                BANK SERVICE FEE                                      2600-000                                        $356.02         $239,557.37

   03/25/16                       UNION BANK                                BANK SERVICE FEE                                      2600-000                                        $332.58         $239,224.79

   04/25/16                       UNION BANK                                BANK SERVICE FEE                                      2600-000                                        $354.97         $238,869.82

   05/25/16                       UNION BANK                                BANK SERVICE FEE                                      2600-000                                        $343.05         $238,526.77

   06/27/16                       Union Bank                                Bank Service Fee under 11                             2600-000                                        $353.95         $238,172.82
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   07/25/16                       Union Bank                                Bank Service Fee under 11                             2600-000                                        $342.08         $237,830.74
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)


                                         Case 1-12-13685-CLB, DocPage1231,     Filed 09/21/21, Entered 09/21/21 $242,209.67
                                                                        Subtotals:                              14:50:42,                                                      $4,378.93
        UST Form 101-7-TDR (10/1/2010) (Page: 41)
                                                          Description: Main Document , Page 41 of 79
                                                                                                                                                                                                 Page:           4

                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 12-13685                                                                                            Trustee Name: MARK S. WALLACH, TRUSTEE                                    Exhibit 9
      Case Name: NORSE ENERGY CORP. USA, A CORPORATI                                                                       Bank Name: Union Bank
                                                                                                                  Account Number/CD#: XXXXXX3208
                                                                                                                                           Lease sale proceeds s/t Carveout
  Taxpayer ID No: XX-XXX8903                                                                              Blanket Bond (per case limit): $10,016,210.00
For Period Ending: 08/30/2021                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                     5                  6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.        Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                           ($)
   08/25/16                       Union Bank                                Bank Service Fee under 11                             2600-000                                        $352.91         $237,477.83
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   09/06/16           20003       INTERNATIONAL SURETIES, LTD.              Payment of 2016-17 Bond                               2300-000                                        $157.78         $237,320.05
                                  701 Poydras Street, Suite 420             Premium
                                  New Orleans, LA 70139
   09/26/16                       Union Bank                                Bank Service Fee under 11                             2600-000                                        $352.40         $236,967.65
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   10/25/16                       Union Bank                                Bank Service Fee under 11                             2600-000                                        $340.42         $236,627.23
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   11/25/16                       Union Bank                                Bank Service Fee under 11                             2600-000                                        $351.13         $236,276.10
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   12/27/16                       Union Bank                                Bank Service Fee under 11                             2600-000                                        $339.32         $235,936.78
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   01/25/17                       Union Bank                                Bank Service Fee under 11                             2600-000                                        $350.14         $235,586.64
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   02/27/17                       Union Bank                                Bank Service Fee under 11                             2600-000                                        $350.55         $235,236.09
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   03/27/17                       Union Bank                                Bank Service Fee under 11                             2600-000                                        $316.23         $234,919.86
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   04/25/17                       Union Bank                                Bank Service Fee under 11                             2600-000                                        $349.56         $234,570.30
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   05/25/17                       Union Bank                                Bank Service Fee under 11                             2600-000                                        $337.80         $234,232.50
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   06/26/17                       Union Bank                                Bank Service Fee under 11                             2600-000                                        $348.53         $233,883.97
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)




                                         Case 1-12-13685-CLB, DocPage1231,     Filed 09/21/21, Entered 09/21/21 14:50:42,
                                                                        Subtotals:                                  $0.00                                                      $3,946.77
        UST Form 101-7-TDR (10/1/2010) (Page: 42)
                                                          Description: Main Document , Page 42 of 79
                                                                                                                                                                                                 Page:           5

                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 12-13685                                                                                            Trustee Name: MARK S. WALLACH, TRUSTEE                                    Exhibit 9
      Case Name: NORSE ENERGY CORP. USA, A CORPORATI                                                                       Bank Name: Union Bank
                                                                                                                  Account Number/CD#: XXXXXX3208
                                                                                                                                           Lease sale proceeds s/t Carveout
  Taxpayer ID No: XX-XXX8903                                                                              Blanket Bond (per case limit): $10,016,210.00
For Period Ending: 08/30/2021                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                     5                  6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.        Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                           ($)
   07/25/17                       Union Bank                                Bank Service Fee under 11                             2600-000                                        $336.83         $233,547.14
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   08/25/17                       Union Bank                                Bank Service Fee under 11                             2600-000                                        $347.51         $233,199.63
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   09/11/17           20004       INTERNATIONAL SURETIES, LTD.              9/1/17-9/1/18 Bond Premium -                          2300-000                                        $145.67         $233,053.96
                                  701 Poydras Street, Suite 420             Bond #016029057
                                  New Orleans, LA 70139
   09/25/17                       Union Bank                                Bank Service Fee under 11                             2600-000                                        $347.00         $232,706.96
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   10/25/17                       Union Bank                                Bank Service Fee under 11                             2600-000                                        $335.24         $232,371.72
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   11/27/17                       Union Bank                                Bank Service Fee under 11                             2600-000                                        $345.76         $232,025.96
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   12/26/17                       Union Bank                                Bank Service Fee under 11                             2600-000                                        $334.17         $231,691.79
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   01/25/18                       Union Bank                                Bank Service Fee under 11                             2600-000                                        $344.76         $231,347.03
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   02/26/18                       Union Bank                                Bank Service Fee under 11                             2600-000                                        $344.25         $231,002.78
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   03/26/18                       Union Bank                                Bank Service Fee under 11                             2600-000                                        $310.53         $230,692.25
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   04/25/18                       Union Bank                                Bank Service Fee under 11                             2600-000                                        $343.25         $230,349.00
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   05/25/18                       Union Bank                                Bank Service Fee under 11                             2600-000                                        $331.72         $230,017.28
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)




                                         Case 1-12-13685-CLB, DocPage1231,     Filed 09/21/21, Entered 09/21/21 14:50:42,
                                                                        Subtotals:                                  $0.00                                                      $3,866.69
        UST Form 101-7-TDR (10/1/2010) (Page: 43)
                                                          Description: Main Document , Page 43 of 79
                                                                                                                                                                                                  Page:           6

                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 12-13685                                                                                              Trustee Name: MARK S. WALLACH, TRUSTEE                                   Exhibit 9
      Case Name: NORSE ENERGY CORP. USA, A CORPORATI                                                                        Bank Name: Union Bank
                                                                                                                   Account Number/CD#: XXXXXX3208
                                                                                                                                           Lease sale proceeds s/t Carveout
  Taxpayer ID No: XX-XXX8903                                                                              Blanket Bond (per case limit): $10,016,210.00
For Period Ending: 08/30/2021                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                     5                   6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                            ($)
   06/25/18                       Union Bank                                Bank Service Fee under 11                              2600-000                                        $342.26         $229,675.02
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   07/25/18                       Union Bank                                Bank Service Fee under 11                              2600-000                                        $330.75         $229,344.27
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   08/27/18                       Union Bank                                Bank Service Fee under 11                              2600-000                                        $341.25         $229,003.02
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   09/11/18           20005       INTERNATIONAL SURETIES, LTD.              9/1/18-9/1/19 Bond Premium -                           2300-000                                        $140.74         $228,862.28
                                  701 Poydras Street, Suite 420             Bond #016029057
                                  New Orleans, LA 70139
   09/25/18                       Union Bank                                Bank Service Fee under 11                              2600-000                                        $340.79         $228,521.49
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   10/03/18                       Transfer to Acct # xxxxxx0171             Transfer of Funds                                      9999-000                                   $228,521.49                 $0.00



                                                                                                             COLUMN TOTALS                               $242,209.67          $242,209.67
                                                                                                                   Less: Bank Transfers/CD's             $242,209.67          $228,521.49
                                                                                                             Subtotal                                           $0.00          $13,688.18
                                                                                                                   Less: Payments to Debtors                    $0.00                $0.00
                                                                                                             Net                                                $0.00          $13,688.18




                                         Case 1-12-13685-CLB, DocPage1231,     Filed 09/21/21, Entered 09/21/21 14:50:42,
                                                                        Subtotals:                                  $0.00                                                     $230,017.28
        UST Form 101-7-TDR (10/1/2010) (Page: 44)
                                                          Description: Main Document , Page 44 of 79
                                                                                                                                                                                               Page:           7

                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 12-13685                                                                                            Trustee Name: MARK S. WALLACH, TRUSTEE                                  Exhibit 9
      Case Name: NORSE ENERGY CORP. USA, A CORPORATI                                                                       Bank Name: Union Bank
                                                                                                                  Account Number/CD#: XXXXXX3216
                                                                                                                                           Avoidance & Carveouts Unencumbered
  Taxpayer ID No: XX-XXX8903                                                                              Blanket Bond (per case limit): $10,016,210.00
For Period Ending: 08/30/2021                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                    5                 6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.      Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                         ($)
   07/30/15                       Transfer from Acct # XXXXXX1408           Bank Funds Transfer                                   9999-000              $53,231.85                               $53,231.85

   08/25/15                       UNION BANK                                BANK SERVICE FEE                                      2600-000                                       $15.00          $53,216.85

   09/25/15                       UNION BANK                                BANK SERVICE FEE                                      2600-000                                       $79.11          $53,137.74

   10/26/15                       UNION BANK                                BANK SERVICE FEE                                      2600-000                                       $76.52          $53,061.22

   11/25/15                       UNION BANK                                BANK SERVICE FEE                                      2600-000                                       $78.96          $52,982.26

   12/28/15                       UNION BANK                                BANK SERVICE FEE                                      2600-000                                       $76.30          $52,905.96

   01/25/16                       UNION BANK                                BANK SERVICE FEE                                      2600-000                                       $78.73          $52,827.23

   02/25/16                       UNION BANK                                BANK SERVICE FEE                                      2600-000                                       $78.39          $52,748.84

   03/25/16                       UNION BANK                                BANK SERVICE FEE                                      2600-000                                       $73.23          $52,675.61

   04/04/16                       MARK S. WALLACH, TIB NORSE                Carve-out Vandermark Stock                            9999-000              $10,000.00                               $62,675.61

   04/25/16                       UNION BANK                                BANK SERVICE FEE                                      2600-000                                       $78.16          $62,597.45

   05/02/16                       MSW, TIB NORSE                            Estate Carve-out per Order                            9999-000              $32,270.70                               $94,868.15

   05/25/16                       UNION BANK                                BANK SERVICE FEE                                      2600-000                                       $87.97          $94,780.18

   06/27/16                       Union Bank                                Bank Service Fee under 11                             2600-000                                      $137.50          $94,642.68
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   07/25/16                       Union Bank                                Bank Service Fee under 11                             2600-000                                      $135.93          $94,506.75
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   08/25/16                       Union Bank                                Bank Service Fee under 11                             2600-000                                      $140.24          $94,366.51
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)



                                         Case 1-12-13685-CLB, DocPage1231,     Filed 09/21/21, Entered 09/21/21 14:50:42,
                                                                        Subtotals:                               $95,502.55                                                  $1,136.04
        UST Form 101-7-TDR (10/1/2010) (Page: 45)
                                                          Description: Main Document , Page 45 of 79
                                                                                                                                                                                                Page:           8

                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 12-13685                                                                                            Trustee Name: MARK S. WALLACH, TRUSTEE                                   Exhibit 9
      Case Name: NORSE ENERGY CORP. USA, A CORPORATI                                                                       Bank Name: Union Bank
                                                                                                                  Account Number/CD#: XXXXXX3216
                                                                                                                                           Avoidance & Carveouts Unencumbered
  Taxpayer ID No: XX-XXX8903                                                                              Blanket Bond (per case limit): $10,016,210.00
For Period Ending: 08/30/2021                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                    5                  6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.      Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                          ($)
   09/26/16                       Union Bank                                Bank Service Fee under 11                             2600-000                                       $140.03          $94,226.48
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   10/25/16                       Union Bank                                Bank Service Fee under 11                             2600-000                                       $135.33          $94,091.15
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   11/25/16                       Union Bank                                Bank Service Fee under 11                             2600-000                                       $139.62          $93,951.53
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   12/27/16                       Union Bank                                Bank Service Fee under 11                             2600-000                                       $134.93          $93,816.60
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   01/25/17                       Union Bank                                Bank Service Fee under 11                             2600-000                                       $139.23          $93,677.37
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   01/30/17            26         Kvale Advokatfirma DA                     Dividend from Norway Case                             1241-000                $3,158.43                               $96,835.80

   02/27/17                       Union Bank                                Bank Service Fee under 11                             2600-000                                       $139.69          $96,696.11
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   03/27/17                       Union Bank                                Bank Service Fee under 11                             2600-000                                       $129.98          $96,566.13
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   04/25/17                       Union Bank                                Bank Service Fee under 11                             2600-000                                       $143.69          $96,422.44
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   05/08/17                       Transfer from Acct # xxxxxx3034           Carveout re Stryker Settlement                        9999-000              $35,800.00                               $132,222.44
                                                                            Order 3/10/17
   05/25/17                       Union Bank                                Bank Service Fee under 11                             2600-000                                       $138.85         $132,083.59
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   06/26/17                       Union Bank                                Bank Service Fee under 11                             2600-000                                       $184.46         $131,899.13
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   07/25/17                       Union Bank                                Bank Service Fee under 11                             2600-000                                       $189.94         $131,709.19
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)


                                         Case 1-12-13685-CLB, DocPage1231,     Filed 09/21/21, Entered 09/21/21 14:50:42,
                                                                        Subtotals:                               $38,958.43                                                   $1,615.75
        UST Form 101-7-TDR (10/1/2010) (Page: 46)
                                                          Description: Main Document , Page 46 of 79
                                                                                                                                                                                               Page:           9

                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 12-13685                                                                                            Trustee Name: MARK S. WALLACH, TRUSTEE                                  Exhibit 9
      Case Name: NORSE ENERGY CORP. USA, A CORPORATI                                                                       Bank Name: Union Bank
                                                                                                                  Account Number/CD#: XXXXXX3216
                                                                                                                                           Avoidance & Carveouts Unencumbered
  Taxpayer ID No: XX-XXX8903                                                                              Blanket Bond (per case limit): $10,016,210.00
For Period Ending: 08/30/2021                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                    5                6                      7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.      Deposits ($)    Disbursements ($)     Account/CD Balance
                    Reference                                                                                                        Code                                                         ($)
   08/25/17                       Union Bank                                Bank Service Fee under 11                             2600-000                                      $195.98         $131,513.21
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   09/25/17                       Union Bank                                Bank Service Fee under 11                             2600-000                                      $195.69         $131,317.52
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   10/25/17                       Union Bank                                Bank Service Fee under 11                             2600-000                                      $189.11         $131,128.41
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   11/27/17                       Union Bank                                Bank Service Fee under 11                             2600-000                                      $195.11         $130,933.30
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   12/26/17                       Union Bank                                Bank Service Fee under 11                             2600-000                                      $188.57         $130,744.73
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   01/25/18                       Union Bank                                Bank Service Fee under 11                             2600-000                                      $194.55         $130,550.18
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   02/26/18                       Union Bank                                Bank Service Fee under 11                             2600-000                                      $194.26         $130,355.92
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   03/26/18                       Union Bank                                Bank Service Fee under 11                             2600-000                                      $175.23         $130,180.69
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   04/25/18                       Union Bank                                Bank Service Fee under 11                             2600-000                                      $193.70         $129,986.99
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   05/25/18                       Union Bank                                Bank Service Fee under 11                             2600-000                                      $187.19         $129,799.80
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   06/25/18                       Union Bank                                Bank Service Fee under 11                             2600-000                                      $193.14         $129,606.66
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   07/25/18                       Union Bank                                Bank Service Fee under 11                             2600-000                                      $186.64         $129,420.02
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)




                                         Case 1-12-13685-CLB, DocPage1231,     Filed 09/21/21, Entered 09/21/21 14:50:42,
                                                                        Subtotals:                                  $0.00                                                   $2,289.17
        UST Form 101-7-TDR (10/1/2010) (Page: 47)
                                                          Description: Main Document , Page 47 of 79
                                                                                                                                                                                                Page:       10

                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 12-13685                                                                                              Trustee Name: MARK S. WALLACH, TRUSTEE                                 Exhibit 9
      Case Name: NORSE ENERGY CORP. USA, A CORPORATI                                                                        Bank Name: Union Bank
                                                                                                                   Account Number/CD#: XXXXXX3216
                                                                                                                                           Avoidance & Carveouts Unencumbered
  Taxpayer ID No: XX-XXX8903                                                                              Blanket Bond (per case limit): $10,016,210.00
For Period Ending: 08/30/2021                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                    5                  6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.      Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                          ($)
   08/27/18                       Union Bank                                Bank Service Fee under 11                              2600-000                                      $192.57         $129,227.45
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   09/25/18                       Union Bank                                Bank Service Fee under 11                              2600-000                                      $192.31         $129,035.14
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   10/03/18                       Transfer to Acct # xxxxxx0189             Transfer of Funds                                      9999-000                                 $129,035.14                 $0.00



                                                                                                             COLUMN TOTALS                             $134,460.98          $134,460.98
                                                                                                                   Less: Bank Transfers/CD's           $131,302.55          $129,035.14
                                                                                                             Subtotal                                     $3,158.43           $5,425.84
                                                                                                                   Less: Payments to Debtors                  $0.00                $0.00
                                                                                                             Net                                          $3,158.43           $5,425.84




                                         Case 1-12-13685-CLB, DocPage1231,     Filed 09/21/21, Entered 09/21/21 14:50:42,
                                                                        Subtotals:                                  $0.00                                                   $129,420.02
        UST Form 101-7-TDR (10/1/2010) (Page: 48)
                                                          Description: Main Document , Page 48 of 79
                                                                                                                                                                                                 Page:       11

                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 12-13685                                                                                             Trustee Name: MARK S. WALLACH, TRUSTEE                                   Exhibit 9
      Case Name: NORSE ENERGY CORP. USA, A CORPORATI                                                                       Bank Name: Axos Bank
                                                                                                                  Account Number/CD#: XXXXXX0171
                                                                                                                                          Lease sale proceeds s/t Carveout
  Taxpayer ID No: XX-XXX8903                                                                             Blanket Bond (per case limit): $10,016,210.00
For Period Ending: 08/30/2021                                                                            Separate Bond (if applicable):


       1                2                             3                                              4                                                    5                   6                     7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                       Code                                                            ($)
   10/03/18                       Transfer from Acct # xxxxxx3208           Transfer of Funds                                     9999-000              $228,521.49                               $228,521.49

   09/25/19           2001        INTERNATIONAL SURETIES, LTD.              Bond # 016029057                                      2300-000                                        $184.06         $228,337.43
                                  701 Poydras Street, Suite 420
                                  New Orleans, LA 70139
   06/10/20           2002        Lumsden McCormick LLP                     Fees per 5/27/20 Order                                3310-000                                    $28,031.30          $200,306.13
                                  Cyclorama Building
                                  369 Franklin St.
                                  Buffalo, NY 14202

                                  Att. Brian Kern
   09/01/20           2003        INTERNATIONAL SURETIES, LTD.              Bond Premium                                          2300-000                                        $547.86         $199,758.27
                                  SUITE 420
                                  701 POYDRAS STREET
                                  NEW ORLEANS, LA 70139
   11/16/20                       Transfer to Acct # xxxxxx0189             Transfer of Funds                                     9999-000                                   $199,758.27                 $0.00



                                                                                                            COLUMN TOTALS                               $228,521.49          $228,521.49
                                                                                                                  Less: Bank Transfers/CD's             $228,521.49          $199,758.27
                                                                                                            Subtotal                                           $0.00          $28,763.22
                                                                                                                  Less: Payments to Debtors                    $0.00                $0.00
                                                                                                            Net                                                $0.00          $28,763.22




                                         Case 1-12-13685-CLB, DocPage1231,     Filed 09/21/21, Entered 09/21/21 $228,521.49
                                                                        Subtotals:                              14:50:42,                                                    $228,521.49
        UST Form 101-7-TDR (10/1/2010) (Page: 49)
                                                          Description: Main Document , Page 49 of 79
                                                                                                                                                                                                  Page:       12

                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 12-13685                                                                                               Trustee Name: MARK S. WALLACH, TRUSTEE                                  Exhibit 9
      Case Name: NORSE ENERGY CORP. USA, A CORPORATI                                                                         Bank Name: Axos Bank
                                                                                                                    Account Number/CD#: XXXXXX0189
                                                                                                                                             Avoidance, Carveouts & Lease Sale Proceeds
  Taxpayer ID No: XX-XXX8903                                                                                Blanket Bond (per case limit): $10,016,210.00
For Period Ending: 08/30/2021                                                                               Separate Bond (if applicable):


       1                2                             3                                                4                                                    5                  6                     7

Transaction Date    Check or                Paid To / Received From                        Description of Transaction               Uniform Tran.      Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                           Code                                                         ($)
   10/03/18                       Transfer from Acct # xxxxxx3216           Transfer of Funds                                        9999-000             $129,035.14                              $129,035.14

   01/12/20           3001        GROSS SHUMAN ET AL                        Payment Per 10/28/19 Order                               3210-000                                  $20,040.50          $108,994.64

   01/12/20           3002        GROSS SHUMAN ET AL                        Payment Per 10/28/19 Order                               3220-000                                   $1,010.43          $107,984.21

   01/12/20           3003        GROSS SHUMAN ET AL                        Payment Per 10/28/19 Order                               3210-000                                  $90,576.00           $17,408.21

   11/16/20                       Transfer from Acct # xxxxxx0171           Transfer of Funds                                        9999-000             $199,758.27                              $217,166.48

   11/16/20                       Transfer from Acct # xxxxxx0312           Transfer of Funds                                        9999-000             $843,467.86                            $1,060,634.34

   12/14/20           3004        Iron Mountain                             Record Storeage and                                      2410-000                                  $53,663.58        $1,006,970.76
                                  P.O. Box 27128                            destruction
                                  New York, NY 10087-7128
   04/27/21           3005        MARK S. WALLACH                           Distribution                                                                                      $211,635.16          $795,335.60
                                  PO BOX 607, AMHERST, NY 14226
                                  MARK S. WALLACH                           Final distribution creditor             ($211,548.26)    2100-000
                                                                            account # representing a
                                                                            payment of 100.00 % per court
                                                                            order.
                                  MARK S. WALLACH                           Final distribution creditor                  ($86.90)    2200-000
                                                                            account # representing a
                                                                            payment of 100.00 % per court
                                                                            order.
   04/27/21           3006        CLERK, U.S BANKRUPTCY COURT               Final distribution creditor                              2700-000                                      $350.00         $794,985.60
                                  2 NIAGARA SQUARE, 2nd FLOOR               account # representing a
                                  BUFFALO, NY 14202                         payment of 100.00 % per court
                                                                            order.
   04/27/21           3007        UNITED STATES TRUSTEE                     Final distribution to claim 40                           2950-000                                   $5,200.00          $789,785.60
                                  <B>(ADMINISTRATIVE)</B>                   creditor account # representing
                                  U.S. Trustee Payment Center               a payment of 100.00 % per
                                  P.O. Box 6200-19                          court order.
                                  Portland, OR 97228




                                         Case 1-12-13685-CLB, DocPage1231,     Filed 09/21/21, Entered 09/21/21$1,172,261.27
                                                                        Subtotals:                               14:50:42,                                                    $382,475.67
        UST Form 101-7-TDR (10/1/2010) (Page: 50)
                                                          Description: Main Document , Page 50 of 79
                                                                                                                                                                                                   Page:       13

                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 12-13685                                                                                                  Trustee Name: MARK S. WALLACH, TRUSTEE                                Exhibit 9
      Case Name: NORSE ENERGY CORP. USA, A CORPORATI                                                                            Bank Name: Axos Bank
                                                                                                                    Account Number/CD#: XXXXXX0189
                                                                                                                                               Avoidance, Carveouts & Lease Sale Proceeds
  Taxpayer ID No: XX-XXX8903                                                                                Blanket Bond (per case limit): $10,016,210.00
For Period Ending: 08/30/2021                                                                               Separate Bond (if applicable):


       1                2                             3                                                4                                                      5                  6                    7

Transaction Date    Check or                Paid To / Received From                        Description of Transaction                  Uniform Tran.     Deposits ($)     Disbursements ($)   Account/CD Balance
                    Reference                                                                                                              Code                                                       ($)
   04/27/21           3008        COUGHLIN & GERHART, LLP                   Final distribution to claim 44                              2990-000                                  $2,736.48         $787,049.12
                                  <B>(ADMINISTRATIVE)</B>                   creditor account # representing
                                  Attn: Robert R. Jones, Esq.               a payment of 100.00 % per
                                  P.O. Box 2039                             court order.
                                  Binghamton, NY 13902-2039
   04/27/21           3009        PENNEY, MAIER & WALLACH                   Distribution                                                                                        $235,921.63         $551,127.49
                                  P.O. Box 607
                                  Amherst, NY 14226
                                  PENNEY, MAIER & WALLACH                   Final distribution creditor             ($235,229.75)       3110-000
                                                                            account # representing a
                                                                            payment of 100.00 % per court
                                                                            order.
                                  PENNEY, MAIER & WALLACH                   Final distribution creditor                   ($691.88)     3120-000
                                                                            account # representing a
                                                                            payment of 100.00 % per court
                                                                            order.
   04/27/21           3010        DAMON MOREY LLP                           Distribution                                                                                         $64,818.73         $486,308.76
                                  c/o Barclay Damon
                                  200 Delaware Ave., Suite 1200
                                  Buffalo, NY 14202
                                  Att. Beth Bivona, Esq.

                                  DAMON MOREY LLP                           Final distribution creditor                 ($61,393.82)    6210-000
                                                                            account # representing a
                                                                            payment of 100.00 % per court
                                                                            order.
                                  DAMON MOREY LLP                           Final distribution creditor                  ($3,424.91)    6220-000
                                                                            account # representing a
                                                                            payment of 100.00 % per court
                                                                            order.
   04/27/21           3011        GROSS SHUMAN et al                        Final distribution creditor                                 6210-160                                 $49,638.41         $436,670.35
                                  Gross Shuman Brizdle & Gilfillan, PC      account # representing a
                                  465 Main Street                           payment of 100.00 % per court
                                  Buffalo, NY 14203                         order.




                                         Case 1-12-13685-CLB, DocPage1231,     Filed 09/21/21, Entered 09/21/21 14:50:42,
                                                                        Subtotals:                                  $0.00                                                       $353,115.25
        UST Form 101-7-TDR (10/1/2010) (Page: 51)
                                                          Description: Main Document , Page 51 of 79
                                                                                                                                                                                                   Page:       14

                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 12-13685                                                                                                  Trustee Name: MARK S. WALLACH, TRUSTEE                                Exhibit 9
      Case Name: NORSE ENERGY CORP. USA, A CORPORATI                                                                            Bank Name: Axos Bank
                                                                                                                    Account Number/CD#: XXXXXX0189
                                                                                                                                               Avoidance, Carveouts & Lease Sale Proceeds
  Taxpayer ID No: XX-XXX8903                                                                                Blanket Bond (per case limit): $10,016,210.00
For Period Ending: 08/30/2021                                                                               Separate Bond (if applicable):


       1                2                             3                                                4                                                      5                  6                    7

Transaction Date    Check or                Paid To / Received From                        Description of Transaction                  Uniform Tran.     Deposits ($)     Disbursements ($)   Account/CD Balance
                    Reference                                                                                                              Code                                                       ($)
   04/27/21           3012        OPPORTUNE LP                              Final distribution to claim 43                              6410-000                                 $75,000.00         $361,670.35
                                  c/o Michael Weishaar, Esq.                creditor account # representing
                                  43 Court St., Suite 930                   a payment of 100.00 % per
                                  Buffalo, NY 14202                         court order.
   04/27/21           3013        TEXAS WORKFORCE COMMISSION                Final distribution to claim 37                              6820-000                                  $1,377.58         $360,292.77
                                  Regulatory Integrity Division - SAU       creditor account # representing
                                  Room 556                                  a payment of 100.00 % per
                                  101 E. 15th Street                        court order.
                                  Austin, TX 78778-0001
   04/27/21           3014        ROBERT C. URBEN                           Distribution                                                                                          $2,373.78         $357,918.99
                                  10101 Lapp Rd.
                                  Clarence Center, NY 14032
                                  ROBERT C. URBEN                           Final distribution to claim 60               ($2,295.00)    6920-000
                                                                            creditor account # representing
                                                                            a payment of 100.00 % per
                                                                            court order.
                                  ROBERT C. URBEN                           Final distribution to claim 60                  ($78.78)    7100-000
                                                                            creditor account # representing
                                                                            a payment of 3.43 % per court
                                                                            order.
   04/27/21           3015        CZESLAW & TERESA TRACZYK                  Final distribution to claim 71                              6920-000                                 $25,755.00         $332,163.99
                                  15 Washington Pl.                         creditor account # representing
                                  Wallington, NJ 07057                      a payment of 100.00 % per
                                                                            court order.
   04/27/21           3016        CZESLAW & MARIUSZ TRACZYK                 Distribution                                                                                         $14,481.39         $317,682.60
                                  15 Washington Pl.
                                  Wallington, NJ 07057
                                  CZESLAW & MARIUSZ TRACZYK                 Final distribution to claim 72              ($13,146.00)    6920-000
                                                                            creditor account # representing
                                                                            a payment of 100.00 % per
                                                                            court order.
                                  CZESLAW & MARIUSZ TRACZYK                 Final distribution to claim 71                ($884.12)     7100-000
                                                                            creditor account # representing
                                                                            a payment of 3.43 % per court
                                                                            order.
                                  CZESLAW & MARIUSZ TRACZYK                 Final distribution to claim 72                ($451.27)     7100-000
                                                                            creditor account # representing
                                                                            a payment of 3.43 % per court
                                                                            order.

                                         Case 1-12-13685-CLB, DocPage1231,     Filed 09/21/21, Entered 09/21/21 14:50:42,
                                                                        Subtotals:                                  $0.00                                                       $118,987.75
        UST Form 101-7-TDR (10/1/2010) (Page: 52)
                                                          Description: Main Document , Page 52 of 79
                                                                                                                                                                                                     Page:       15

                                                                                           FORM 2
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 12-13685                                                                                                   Trustee Name: MARK S. WALLACH, TRUSTEE                                 Exhibit 9
      Case Name: NORSE ENERGY CORP. USA, A CORPORATI                                                                             Bank Name: Axos Bank
                                                                                                                     Account Number/CD#: XXXXXX0189
                                                                                                                                                Avoidance, Carveouts & Lease Sale Proceeds
  Taxpayer ID No: XX-XXX8903                                                                                 Blanket Bond (per case limit): $10,016,210.00
For Period Ending: 08/30/2021                                                                                Separate Bond (if applicable):


       1                2                              3                                                4                                                      5                  6                     7

Transaction Date    Check or                 Paid To / Received From                        Description of Transaction                  Uniform Tran.     Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                               Code                                                        ($)
   04/27/21           3017        EFS, LLC                                   Distribution                                                                                         $61,816.67          $255,865.93
                                  PAUL M.GALLAGHER, ESQ.
                                  7723 STATE ROUTE 20
                                  WATERVILLE, NY 13480
                                  EFS, LLC                                   Final distribution to claim 79              ($61,500.00)    6920-000
                                                                             creditor account # representing
                                                                             a payment of 100.00 % per
                                                                             court order.
                                  EFS, LLC                                   Final distribution to claim 79                ($316.67)     7100-000
                                                                             creditor account # representing
                                                                             a payment of 3.43 % per court
                                                                             order.
   04/27/21           3018        STUART LOEWENSTEIN                         Distribution                                                                                          $9,478.75          $246,387.18
                                  158 WINDERMERE BLVD
                                  AMHERST, NY 14226
                                  STUART LOEWENSTEIN                         Final distribution to claim 17               ($6,726.64)    5300-000
                                                                             creditor account # representing
                                                                             a payment of 100.00 % per
                                                                             court order.
                                  STUART LOEWENSTEIN                         Final distribution to claim 17               ($2,752.11)    7100-000
                                                                             creditor account # representing
                                                                             a payment of 3.43 % per court
                                                                             order.
   04/27/21           3019        DARLENE F. NOLTE                           Final distribution to claim 32                              5300-000                                     $444.79         $245,942.39
                                  132 Mary Reed Road                         creditor account # representing
                                  Baden, PA 15005                            a payment of 100.00 % per
                                                                             court order.
   04/27/21           3020        NYS DEPT OF TAXATION AND                   Distribution                                                                                          $1,131.76          $244,810.63
                                  FINANCE

                                  NYS DEPT OF TAXATION AND                   Box 17 - State Income Tax                     ($803.16)     5300-000
                                  FINANCE
                                  NYS DEPT OF TAXATION AND                   Box 17 - State Income Tax                     ($328.60)     7100-000
                                  FINANCE
   04/27/21           3021        INTERNAL REVENUE SERVICE                   Distribution                                                                                          $4,130.53          $240,680.10
                                  ANDOVER, MA 05501
                                  INTERNAL REVENUE SERVICE                   Federal W/H (employee)                       ($2,931.25)    5300-000



                                         Case 1-12-13685-CLB, DocPage1231,     Filed 09/21/21, Entered 09/21/21 14:50:42,
                                                                        Subtotals:                                  $0.00                                                         $77,002.50
        UST Form 101-7-TDR (10/1/2010) (Page: 53)
                                                          Description: Main Document , Page 53 of 79
                                                                                                                                                                                                   Page:       16

                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 12-13685                                                                                                 Trustee Name: MARK S. WALLACH, TRUSTEE                                 Exhibit 9
      Case Name: NORSE ENERGY CORP. USA, A CORPORATI                                                                           Bank Name: Axos Bank
                                                                                                                    Account Number/CD#: XXXXXX0189
                                                                                                                                              Avoidance, Carveouts & Lease Sale Proceeds
  Taxpayer ID No: XX-XXX8903                                                                                Blanket Bond (per case limit): $10,016,210.00
For Period Ending: 08/30/2021                                                                               Separate Bond (if applicable):


       1                2                             3                                                4                                                     5                  6                     7

Transaction Date    Check or                Paid To / Received From                        Description of Transaction                 Uniform Tran.     Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                             Code                                                        ($)
                                  INTERNAL REVENUE SERVICE                  Federal W/H (employee)                      ($1,199.28)    7100-000

   04/27/21           3022        INTERNAL REVENUE SERVICE                  Distribution                                                                                         $1,024.37          $239,655.73
                                  ANDOVER, MA 05501
                                  INTERNAL REVENUE SERVICE                  FICA (employee)                              ($726.95)     5300-000

                                  INTERNAL REVENUE SERVICE                  FICA (employee)                              ($297.42)     7100-000

   04/27/21           3023        INTERNAL REVENUE SERVICE                  Distribution                                                                                            $239.57         $239,416.16
                                  ANDOVER, MA 05501
                                  INTERNAL REVENUE SERVICE                  Medicare (employee)                          ($170.01)     5300-000

                                  INTERNAL REVENUE SERVICE                  Medicare (employee)                           ($69.56)     7100-000

   04/27/21           3024        NYS Unemployment                          Distribution                                                                                            $517.14         $238,899.02

                                  NYS Unemployment                          NYS UI Tax                                   ($366.99)     5300-000

                                  NYS Unemployment                          NYS UI Tax                                   ($150.15)     7100-000

   04/27/21           3025        DEPT OF LABOR AND INDUSTRY                Final distribution to claim 1                              5800-000                                     $109.14         $238,789.88
                                  JOSEPH KOTS                               creditor account # representing
                                  625 CHERRY ST., RM 203                    a payment of 100.00 % per
                                  READING, PA 19602                         court order.
   04/27/21           3026        STATE OF NY DEPT OF LABOR                 Final distribution to claim 39                             5800-000                                     $306.00         $238,483.88
                                  UNEMPLOYMENT INSURANCE                    creditor account # representing
                                  DIVISION                                  a payment of 100.00 % per
                                  GOV. W. AVERELL HARRIMAN STATE            court order.
                                  OFFICE BU
                                  BUILDING 12, ROOM 256
                                  ALBANY, NY 12240
   04/27/21           3027        INTERNAL REVENUE SERVICE                  Distribution                                                                                             $99.13         $238,384.75
                                  P.O. BOX 105703
                                  ATLANTA, NY 30348-5703
                                  INTERNAL REVENUE SERVICE                  Federal Unemployment                          ($70.35)     5800-000
                                                                            (employer)
                                  INTERNAL REVENUE SERVICE                  Federal Unemployment                          ($28.78)     7100-000
                                                                            (employer)



                                         Case 1-12-13685-CLB, DocPage1231,     Filed 09/21/21, Entered 09/21/21 14:50:42,
                                                                        Subtotals:                                  $0.00                                                        $2,295.35
        UST Form 101-7-TDR (10/1/2010) (Page: 54)
                                                          Description: Main Document , Page 54 of 79
                                                                                                                                                                                                  Page:       17

                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 12-13685                                                                                               Trustee Name: MARK S. WALLACH, TRUSTEE                                  Exhibit 9
      Case Name: NORSE ENERGY CORP. USA, A CORPORATI                                                                         Bank Name: Axos Bank
                                                                                                                    Account Number/CD#: XXXXXX0189
                                                                                                                                             Avoidance, Carveouts & Lease Sale Proceeds
  Taxpayer ID No: XX-XXX8903                                                                                Blanket Bond (per case limit): $10,016,210.00
For Period Ending: 08/30/2021                                                                               Separate Bond (if applicable):


       1                2                             3                                                4                                                    5                  6                     7

Transaction Date    Check or                Paid To / Received From                        Description of Transaction               Uniform Tran.      Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                           Code                                                         ($)
   04/27/21           3028        INTERNAL REVENUE SERVICE                  Distribution                                                                                        $1,024.37          $237,360.38
                                  ANDOVER, MA 05501
                                  INTERNAL REVENUE SERVICE                  FICA (employer)                             ($726.95)    5800-000

                                  INTERNAL REVENUE SERVICE                  FICA (employer)                             ($297.42)    7100-000

   04/27/21           3029        INTERNAL REVENUE SERVICE                  Distribution                                                                                           $239.57         $237,120.81
                                  ANDOVER, MA 05501
                                  INTERNAL REVENUE SERVICE                  Medicare (employer)                         ($170.01)    5800-000

                                  INTERNAL REVENUE SERVICE                  Medicare (employer)                          ($69.56)    7100-000

   04/27/21           3030        NYSEG                                     Final distribution to claim 2                            7100-000                                      $212.70         $236,908.11
                                  ATTN:BANKRUPTCY DEPT                      creditor account # representing
                                  PO BOX 5240                               a payment of 3.43 % per court
                                  BINGHAMTON, NY 13902                      order.
   04/27/21           3031        CIT TECHNOLOGY FINANCING                  Final distribution to claim 3                            7100-000                                       $78.65         $236,829.46
                                  SERVICES,                                 creditor account # representing
                                  BANKRUPTCY PROCESSING                     a payment of 3.43 % per court
                                  SOLUTIONS, INC.                           order.
                                  1162 E. SONTERRA BLVD., SUITE 130
                                  SAN ANTONIO, TX 78258
   04/27/21           3032        GECITS                                    Final distribution to claim 4                            7100-000                                      $548.71         $236,280.75
                                  Attn: Bankrupcy Administration            creditor account # representing
                                  PO Box 13708                              a payment of 3.43 % per court
                                  Macon, GA 31208                           order.
   04/27/21           3033        ERM CONSULTING & ENGINEERING,             Final distribution to claim 5                            7100-000                                      $166.69         $236,114.06
                                  INC.                                      creditor account # representing
                                  PATTY CROTWELL, ERM LAW                   a payment of 3.43 % per court
                                  DEPARTMENT                                order.
                                  206 E. 9TH STREET, SUITE 1700
                                  AUSTIN, TX 78701
   04/27/21           3034        Clerk, U.S. Bankruptcy Court              Remit to Court                                                                                           $7.33         $236,106.73

                                  NATIONAL GRID                             Final distribution to claim 6                 ($3.71)    7100-001
                                                                            creditor account # representing
                                                                            a payment of 3.43 % per court
                                                                            order.



                                         Case 1-12-13685-CLB, DocPage1231,     Filed 09/21/21, Entered 09/21/21 14:50:42,
                                                                        Subtotals:                                  $0.00                                                       $2,278.02
        UST Form 101-7-TDR (10/1/2010) (Page: 55)
                                                          Description: Main Document , Page 55 of 79
                                                                                                                                                                                                  Page:       18

                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 12-13685                                                                                              Trustee Name: MARK S. WALLACH, TRUSTEE                                   Exhibit 9
      Case Name: NORSE ENERGY CORP. USA, A CORPORATI                                                                         Bank Name: Axos Bank
                                                                                                                    Account Number/CD#: XXXXXX0189
                                                                                                                                             Avoidance, Carveouts & Lease Sale Proceeds
  Taxpayer ID No: XX-XXX8903                                                                                Blanket Bond (per case limit): $10,016,210.00
For Period Ending: 08/30/2021                                                                               Separate Bond (if applicable):


       1                2                             3                                                4                                                    5                  6                     7

Transaction Date    Check or                Paid To / Received From                        Description of Transaction              Uniform Tran.       Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                          Code                                                          ($)
                                  UNITED PARCEL SERVICE                     Final distribution to claim 9                ($2.65)    7100-001
                                                                            creditor account # representing
                                                                            a payment of 3.43 % per court
                                                                            order.
                                  CRYSTAL ROCK WATER CO.                    Final distribution to claim 13               ($0.97)    7100-001
                                                                            creditor account # representing
                                                                            a payment of 3.43 % per court
                                                                            order.
   04/27/21           3035        SUMMER HILL LODGE, LLC                    Final distribution to claim 7                           7100-000                                       $942.68         $235,164.05
                                  19 Eaton Ave.                             creditor account # representing
                                  Norwich, NY 13815                         a payment of 3.43 % per court
                                                                            order.
   04/27/21           3036        AT&T MOBILITY II LLC                      Final distribution to claim 10                          7100-000                                        $23.14         $235,140.91
                                  % AT&T Services, Inc                      creditor account # representing
                                  Karen Cavagnaro, Paralegal                a payment of 3.43 % per court
                                  One AT&T Way, Room 3A231                  order.
                                  Bedminster, NJ 07921
   04/27/21           3037        R&P OAK HILL, LLC                         Final distribution to claim 11                          7100-000                                    $4,861.60          $230,279.31
                                  c/o Jason G. Ulatowski, Esq.              creditor account # representing
                                  Rupp, Baase                               a payment of 3.43 % per court
                                  1600 Liberty Building                     order.
                                  Buffalo, New York 14202
   04/27/21           3038        PLYMOUTH RESOURCES, LLC                   Final distribution to claim 12                          7100-000                                       $421.98         $229,857.33
                                  Attn: Robert Strick                       creditor account # representing
                                  1025 W. Colonial Drive                    a payment of 3.43 % per court
                                  Orlando, FL 32804                         order.
   04/27/21           3039        KEY EQUIPMENT FINANCE INC.                Final distribution to claim 15                          7100-000                                        $87.69         $229,769.64
                                  1000 S. MCCASLIN BLVD                     creditor account # representing
                                  SUPERIOR, CO 80027                        a payment of 3.43 % per court
                                                                            order.
   04/27/21           3040        HISCOCK & BARCLAY, LLP,                   Distribution                                                                                           $994.37         $228,775.27
                                  J. Eric Charlton, Esq.
                                  One Park Place
                                  300 S. State St.
                                  Syracuse, NY 13202
                                  HISCOCK & BARCLAY, LLP,                   Final distribution to claim 18               ($8.50)    7100-000
                                                                            creditor account # representing
                                                                            a payment of 3.43 % per court
                                                                            order.


                                         Case 1-12-13685-CLB, DocPage1231,     Filed 09/21/21, Entered 09/21/21 14:50:42,
                                                                        Subtotals:                                  $0.00                                                       $7,331.46
        UST Form 101-7-TDR (10/1/2010) (Page: 56)
                                                          Description: Main Document , Page 56 of 79
                                                                                                                                                                                                    Page:       19

                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 12-13685                                                                                                  Trustee Name: MARK S. WALLACH, TRUSTEE                                 Exhibit 9
      Case Name: NORSE ENERGY CORP. USA, A CORPORATI                                                                            Bank Name: Axos Bank
                                                                                                                    Account Number/CD#: XXXXXX0189
                                                                                                                                               Avoidance, Carveouts & Lease Sale Proceeds
  Taxpayer ID No: XX-XXX8903                                                                                Blanket Bond (per case limit): $10,016,210.00
For Period Ending: 08/30/2021                                                                               Separate Bond (if applicable):


       1                2                             3                                                4                                                      5                  6                     7

Transaction Date    Check or                Paid To / Received From                        Description of Transaction                  Uniform Tran.     Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                              Code                                                        ($)
                                  HISCOCK & BARCLAY, LLP,                   Final distribution to claim 19                ($985.87)     7100-000
                                                                            creditor account # representing
                                                                            a payment of 3.43 % per court
                                                                            order.
   04/27/21           3041        NATIONAL FUEL GAS DISTRIBUTION            Final distribution to claim 20                              7100-000                                      $12.81         $228,762.46
                                  CORP                                      creditor account # representing
                                  Corporation                               a payment of 3.43 % per court
                                  6363 Main Street                          order.
                                  Williamsville, NY 14221
   04/27/21           3042        B.P. OLIVERIO ESQ.                        Final distribution to claim 21                              7100-000                                  $1,542.14          $227,220.32
                                  1300 Main Place Tower                     creditor account # representing
                                  Buffalo, NY 14202                         a payment of 3.43 % per court
                                                                            order.
   04/27/21           3043        PHILLIP OZDEMIR                           Final distribution to claim 22                              7100-000                                  $1,716.40          $225,503.92
                                  476 Hopkins-Crandall Rd.                  creditor account # representing
                                  Smyra, NY 13464                           a payment of 3.43 % per court
                                                                            order.
   04/27/21           3044        BRADFORD DRILLING ASSOCIATES,             Final distribution to claim 25                              7100-000                                $188,804.07           $36,699.85
                                  XXIX,                                     creditor account # representing
                                  c/o Lippes, Mathias et al                 a payment of 3.43 % per court
                                  50 Fountain Plaza, Suite 1700             order.
                                  Buffalo, NY 14202-2216
                                  Att. Ray Fink, Esq.

   04/27/21           3045        L. P. HN VENTURE                          Final distribution to claim 26                              7100-000                                  $2,758.99           $33,940.86
                                  c/o Harter Secrest & Emery LLP            creditor account # representing
                                  12 Fountain Plaza, Suite 400              a payment of 3.43 % per court
                                  Buffalo, New York 14202-2293              order.
   04/27/21           3046        DOMINION TRANSMISSION, INC.               Distribution                                                                                         $32,251.16             $1,689.70
                                  120 Tredegar Street, Riverside 2
                                  Richmond, VA 23219
                                  DOMINION TRANSMISSION, INC.               Final distribution to claim 28               ($4,495.83)    7100-000
                                                                            creditor account # representing
                                                                            a payment of 3.43 % per court
                                                                            order.
                                  DOMINION TRANSMISSION, INC.               Final distribution to claim 29              ($27,755.33)    7100-000
                                                                            creditor account # representing
                                                                            a payment of 3.43 % per court
                                                                            order.


                                         Case 1-12-13685-CLB, DocPage1231,     Filed 09/21/21, Entered 09/21/21 14:50:42,
                                                                        Subtotals:                                  $0.00                                                       $227,085.57
        UST Form 101-7-TDR (10/1/2010) (Page: 57)
                                                          Description: Main Document , Page 57 of 79
                                                                                                                                                                                                  Page:       20

                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 12-13685                                                                                            Trustee Name: MARK S. WALLACH, TRUSTEE                                     Exhibit 9
      Case Name: NORSE ENERGY CORP. USA, A CORPORATI                                                                       Bank Name: Axos Bank
                                                                                                                  Account Number/CD#: XXXXXX0189
                                                                                                                                           Avoidance, Carveouts & Lease Sale Proceeds
  Taxpayer ID No: XX-XXX8903                                                                              Blanket Bond (per case limit): $10,016,210.00
For Period Ending: 08/30/2021                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                    5                  6                       7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)     Disbursements ($)      Account/CD Balance
                    Reference                                                                                                        Code                                                            ($)
   04/27/21           3047        DONALD ROSSI & GREGORY                    Final distribution to claim 31                        7100-000                                         $17.19             $1,672.51
                                  HEITMANN                                  creditor account # representing
                                  ATTN: DONALD ROSSI                        a payment of 3.43 % per court
                                  236 RANDOLPH AVENUE                       order.
                                  EMERSON, NJ 07630
   04/27/21           3048        SOMERSET PRODUCTION CO., LLC              Final distribution to claim 33                        7100-000                                         $93.68             $1,578.83
                                  Gregory Altman                            creditor account # representing
                                  338 Harris Hill Road, Ste. 102            a payment of 3.43 % per court
                                  Buffalo, NY 14221                         order.
   04/27/21           3049        JEFFREY BARROWS                           Final distribution to claim 36                        7100-000                                         $11.43             $1,567.40
                                  1177 Hoben Road                           creditor account # representing
                                  Oxford, NY 13830                          a payment of 3.43 % per court
                                                                            order.
   04/27/21           3050        WELLS FARGO BANK, N.A.                    Final distribution creditor                           7100-000                                    $1,567.40                    $0.00
                                  c/o Wells Fargo Law Department            account # representing a
                                  Attn: Christopher Stein, Esq.             payment of 3.43 % per court
                                  Mail Code: D1053-300                      order.
                                  301 South College Street
                                  Charlotte, NC 28288
   08/19/21           3026        STATE OF NY DEPT OF LABOR                 Final distribution to claim 39                        5800-000                                       ($306.00)               $306.00
                                  UNEMPLOYMENT INSURANCE                    creditor account # representing
                                  DIVISION                                  a payment of 100.00 % per
                                  GOV. W. AVERELL HARRIMAN STATE            court order. Reversal
                                  OFFICE BU
                                  BUILDING 12, ROOM 256
                                  ALBANY, NY 12240
   08/19/21           3031        CIT TECHNOLOGY FINANCING                  Final distribution to claim 3                         7100-000                                        ($78.65)               $384.65
                                  SERVICES,                                 creditor account # representing
                                  BANKRUPTCY PROCESSING                     a payment of 3.43 % per court
                                  SOLUTIONS, INC.                           order. Reversal
                                  1162 E. SONTERRA BLVD., SUITE 130
                                  SAN ANTONIO, TX 78258
   08/19/21           3038        PLYMOUTH RESOURCES, LLC                   Final distribution to claim 12                        7100-000                                       ($421.98)               $806.63
                                  Attn: Robert Strick                       creditor account # representing
                                  1025 W. Colonial Drive                    a payment of 3.43 % per court
                                  Orlando, FL 32804                         order. Reversal
   08/19/21           3045        L. P. HN VENTURE                          Final distribution to claim 26                        7100-000                                   ($2,758.99)              $3,565.62
                                  c/o Harter Secrest & Emery LLP            creditor account # representing
                                  12 Fountain Plaza, Suite 400              a payment of 3.43 % per court
                                  Buffalo, New York 14202-2293              order. Reversal

                                         Case 1-12-13685-CLB, DocPage1231,     Filed 09/21/21, Entered 09/21/21 14:50:42,
                                                                        Subtotals:                                  $0.00                                                    ($1,875.92)
        UST Form 101-7-TDR (10/1/2010) (Page: 58)
                                                          Description: Main Document , Page 58 of 79
                                                                                                                                                                                                  Page:       21

                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 12-13685                                                                                               Trustee Name: MARK S. WALLACH, TRUSTEE                                  Exhibit 9
      Case Name: NORSE ENERGY CORP. USA, A CORPORATI                                                                         Bank Name: Axos Bank
                                                                                                                    Account Number/CD#: XXXXXX0189
                                                                                                                                           Avoidance, Carveouts & Lease Sale Proceeds
  Taxpayer ID No: XX-XXX8903                                                                              Blanket Bond (per case limit): $10,016,210.00
For Period Ending: 08/30/2021                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                    5                   6                      7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction               Uniform Tran.      Deposits ($)      Disbursements ($)     Account/CD Balance
                    Reference                                                                                                         Code                                                           ($)
   08/19/21           3049        JEFFREY BARROWS                           Final distribution to claim 36                          7100-000                                      ($11.43)            $3,577.05
                                  1177 Hoben Road                           creditor account # representing
                                  Oxford, NY 13830                          a payment of 3.43 % per court
                                                                            order. Reversal
   08/20/21           3051        Clerk U. S. Bankruptcy Court              Unclaimed Dividend                                      7100-900                                   $3,577.05                  $0.00



                                                                                                              COLUMN TOTALS                           $1,172,261.27        $1,172,261.27
                                                                                                                    Less: Bank Transfers/CD's         $1,172,261.27                 $0.00
                                                                                                              Subtotal                                         $0.00       $1,172,261.27
                                                                                                                    Less: Payments to Debtors                  $0.00                $0.00
                                                                                                              Net                                              $0.00       $1,172,261.27




                                         Case 1-12-13685-CLB, DocPage1231,     Filed 09/21/21, Entered 09/21/21 14:50:42,
                                                                        Subtotals:                                  $0.00                                                      $3,565.62
        UST Form 101-7-TDR (10/1/2010) (Page: 59)
                                                          Description: Main Document , Page 59 of 79
                                                                                                                                                                                                    Page:       22

                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 12-13685                                                                                               Trustee Name: MARK S. WALLACH, TRUSTEE                                    Exhibit 9
      Case Name: NORSE ENERGY CORP. USA, A CORPORATI                                                                         Bank Name: Axos Bank
                                                                                                                    Account Number/CD#: XXXXXX0312
                                                                                                                                           Checking DIP Lender Security
  Taxpayer ID No: XX-XXX8903                                                                              Blanket Bond (per case limit): $10,016,210.00
For Period Ending: 08/30/2021                                                                             Separate Bond (if applicable):


       1                2                              3                                             4                                                    5                      6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction               Uniform Tran.      Deposits ($)         Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                             ($)
   12/14/19            21         Chubb and Son, Div of Federal Insurance Settlement                                                1241-000            $595,044.72                                  $595,044.72
                                  Company

   01/08/20            21         Illinois National Insurance Co.           Settlement                                              1241-000          $1,380,215.41                                $1,975,260.13

   01/12/20            21         Illinois National Insurance Co.           Settlement                                              1241-000               $9,739.87                               $1,985,000.00

   01/12/20           4001        WOODS, OVIATT GILLMAN LLP                 Fees per 12/2/19 Order                                  3210-000                                    $470,983.34        $1,514,016.66

   01/12/20           4002        WOODS OVIATT GILLMAN LLP                  Expenses per 12/2/19 Order                              3220-000                                    $158,585.93        $1,355,430.73

   01/12/20           4003        DAMON MOREY LLP                           Fees per 12/2/19 Order                                  3210-000                                    $140,683.33        $1,214,747.40

   01/12/20           4004        DAMON MOREY LLP                           Expenses per 12/2/19 Order                              3220-000                                     $10,151.24        $1,204,596.16

   06/10/20           4005        START UP 271 AS                           Distribution per 5/2/7/20 Order                         4210-000                                    $361,128.30          $843,467.86
                                  c/o If P&C Insurance Holding Ltd.
                                  Attn: Anton Also
                                  Investment Management
                                  106 80 Stockholm, Sweden
   11/16/20                       Transfer to Acct # xxxxxx0189             Transfer of Funds                                       9999-000                                    $843,467.86                 $0.00



                                                                                                              COLUMN TOTALS                           $1,985,000.00           $1,985,000.00
                                                                                                                    Less: Bank Transfers/CD's                  $0.00            $843,467.86
                                                                                                              Subtotal                                $1,985,000.00           $1,141,532.14
                                                                                                                    Less: Payments to Debtors                  $0.00                   $0.00
                                                                                                              Net                                     $1,985,000.00           $1,141,532.14




                                         Case 1-12-13685-CLB, DocPage1231,     Filed 09/21/21, Entered 09/21/21$1,985,000.00
                                                                        Subtotals:                               14:50:42,                                                    $1,985,000.00
        UST Form 101-7-TDR (10/1/2010) (Page: 60)
                                                          Description: Main Document , Page 60 of 79
                                                                                                                                                                                                 Page:       23

                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 12-13685                                                                                                Trustee Name: MARK S. WALLACH, TRUSTEE                                Exhibit 9
      Case Name: NORSE ENERGY CORP. USA, A CORPORATI                                                                          Bank Name: The Bank of New York Mellon
                                                                                                                     Account Number/CD#: XXXXXX1034
                                                                                                                                           Checking Amegy 303607
  Taxpayer ID No: XX-XXX8903                                                                              Blanket Bond (per case limit): $10,016,210.00
For Period Ending: 08/30/2021                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                    5                   6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction                Uniform Tran.    Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                          Code                                                         ($)
   10/29/13             3         AMEGY BANK                                Bank Balance Turnover                                    1129-000           $95,221.47                                 $95,221.47

   11/07/13                       BANK OF NEW YORK MELLON                   BANK SERVICE FEE                                         2600-000                                     $147.58          $95,073.89

   05/19/14                       Transfer to Acct # XXXXXX1265             Bank Funds Transfer                                      9999-000                                 $95,073.89                 $0.00
                                                                            To facilitate wire to DIP Lender


                                                                                                               COLUMN TOTALS                            $95,221.47            $95,221.47
                                                                                                                     Less: Bank Transfers/CD's                $0.00           $95,073.89
                                                                                                               Subtotal                                 $95,221.47                $147.58
                                                                                                                     Less: Payments to Debtors                $0.00                 $0.00
                                                                                                               Net                                      $95,221.47                $147.58




                                         Case 1-12-13685-CLB, DocPage1231,     Filed 09/21/21, Entered 09/21/21 14:50:42,
                                                                        Subtotals:                               $95,221.47                                                   $95,221.47
        UST Form 101-7-TDR (10/1/2010) (Page: 61)
                                                          Description: Main Document , Page 61 of 79
                                                                                                                                                                                                 Page:       24

                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 12-13685                                                                                                Trustee Name: MARK S. WALLACH, TRUSTEE                                Exhibit 9
      Case Name: NORSE ENERGY CORP. USA, A CORPORATI                                                                          Bank Name: The Bank of New York Mellon
                                                                                                                     Account Number/CD#: XXXXXX1045
                                                                                                                                           Checking Amegy 326917
  Taxpayer ID No: XX-XXX8903                                                                              Blanket Bond (per case limit): $10,016,210.00
For Period Ending: 08/30/2021                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                    5                   6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction                Uniform Tran.    Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                          Code                                                         ($)
   10/29/13             2         AMEGY BANK                                Bank Balance Turnover                                    1129-000             $4,073.32                                  $4,073.32

   05/19/14                       Transfer to Acct # XXXXXX1265             Bank Funds Transfer                                      9999-000                                  $4,073.32                 $0.00
                                                                            To facilitate wire to DIP Lender


                                                                                                               COLUMN TOTALS                              $4,073.32            $4,073.32
                                                                                                                     Less: Bank Transfers/CD's                $0.00            $4,073.32
                                                                                                               Subtotal                                   $4,073.32                 $0.00
                                                                                                                     Less: Payments to Debtors                $0.00                 $0.00
                                                                                                               Net                                        $4,073.32                 $0.00




                                         Case 1-12-13685-CLB, DocPage1231,     Filed 09/21/21, Entered 09/21/21 14:50:42,
                                                                        Subtotals:                               $4,073.32                                                     $4,073.32
        UST Form 101-7-TDR (10/1/2010) (Page: 62)
                                                          Description: Main Document , Page 62 of 79
                                                                                                                                                                                                   Page:       25

                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 12-13685                                                                                           Trustee Name: MARK S. WALLACH, TRUSTEE                                       Exhibit 9
      Case Name: NORSE ENERGY CORP. USA, A CORPORATI                                                                      Bank Name: The Bank of New York Mellon
                                                                                                                 Account Number/CD#: XXXXXX1056
                                                                                                                                          Checking DIP Lender Security
  Taxpayer ID No: XX-XXX8903                                                                             Blanket Bond (per case limit): $10,016,210.00
For Period Ending: 08/30/2021                                                                            Separate Bond (if applicable):


       1                2                             3                                             4                                                    5                      6                     7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction              Uniform Tran.       Deposits ($)         Disbursements ($)    Account/CD Balance
                    Reference                                                                                                       Code                                                              ($)
   10/30/13            13         FARGO, WELLS                              Bank Balance Turnover                                1229-000              $520,196.76                                  $520,196.76

   10/31/13           10001       R & P OAKHILL, LLC                        Rent November, 2013                                  2410-000                                        $1,720.00          $518,476.76

   10/31/13           10002       R & P OAKHILL, LLC                        Storeage November, 2013                              2410-000                                           $360.00         $518,116.76

   11/01/13           10003       WOODLAKE (TEXAS) PROPERTIES,              November rent                                        2410-000                                        $6,894.25          $511,222.51
                                  LTD.
                                  2500 Tanglewilde, Suite 100Houston, TX
                                  77063
   11/21/13            18         L.J. STEIN & CO.                          Bond Cancellation refund                             1221-000                     $50.00                                $511,272.51

   11/21/13            17         EMPIRE ENERGY E & P, LLC                  Gas Sales                                            1123-000                 $1,462.14                                 $512,734.65

   11/21/13            17         EMPIRE ENERGY E & P, LLC                  Gas Sales                                            1123-000                     $27.19                                $512,761.84

   11/21/13            17         EMPIRE ENERGY E & P, LLC                  Gas Sales                                            1123-000                    $475.14                                $513,236.98

   11/25/13           10004       R & P OAKHILL, LLC                        Rent December, 2013                                  2410-000                                        $1,720.00          $511,516.98
                                  3556 Lakeshore Road, Suite 620Buffalo,
                                  NY 14219
   11/25/13           10005       R & P OAKHILL, LLC                        Storage - December, 2013                             2410-000                                           $360.00         $511,156.98
                                  3556 Lakeshore Road, Suite 620Buffalo,
                                  NY 14219
   11/25/13           10006       WOODLAKE (TEXAS) PROPERTIES,              Rent December, 2013                                  2410-000                                        $6,894.25          $504,262.73
                                  LTD.
                                  2500 Tanglewilde, Suite 100Houston, TX
                                  77063
   12/02/13            17         CROW CREEK OPERATING COMPANY Gas Sales                                                         1123-000                     $25.02                                $504,287.75
                                  III LL

   12/02/13            17         CHESAPEAKE OPERATING INC.                 Gas Sales                                            1123-000                     $51.24                                $504,338.99

   12/02/13            17         ARDENT RESOURCES INC.                     Gas Sales                                            1123-000                    $401.32                                $504,740.31

   12/02/13            17         BP AMERICA PRODUCTION COMPANY Gas Sales                                                        1123-000                      $2.00                                $504,742.31


                                         Case 1-12-13685-CLB, DocPage1231,     Filed 09/21/21, Entered 09/21/21 $522,690.81
                                                                        Subtotals:                              14:50:42,                                                       $17,948.50
        UST Form 101-7-TDR (10/1/2010) (Page: 63)
                                                          Description: Main Document , Page 63 of 79
                                                                                                                                                                                                    Page:       26

                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 12-13685                                                                                            Trustee Name: MARK S. WALLACH, TRUSTEE                                       Exhibit 9
      Case Name: NORSE ENERGY CORP. USA, A CORPORATI                                                                       Bank Name: The Bank of New York Mellon
                                                                                                                  Account Number/CD#: XXXXXX1056
                                                                                                                                           Checking DIP Lender Security
  Taxpayer ID No: XX-XXX8903                                                                              Blanket Bond (per case limit): $10,016,210.00
For Period Ending: 08/30/2021                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                    5                      6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)         Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                              ($)
   12/02/13            17         VITRUVIAN II WOODFORD LLC                 Gas Sales                                             1123-000                    $229.08                                $504,971.39

   12/02/13            17         CROW CREEK OPERATING COMPANY Gas Sales                                                          1123-000                     $49.26                                $505,020.65
                                  III LL

   12/02/13            17         STRYKER ENERGY LLC                        Gas Sales                                             1123-000                     $37.89                                $505,058.54

   12/02/13            17         MACK ENERGY CO. OIL & GAS                 Gas Sales                                             1123-000                    $636.71                                $505,695.25

   12/02/13            17         KASTLE RESOURCES ENTERPRISES              Gas Sales                                             1123-000                     $20.92                                $505,716.17
                                  INC.

   12/02/13            17         BP AMERICA PRODUCTION COMPANY Gas Sales                                                         1123-000                     $51.07                                $505,767.24

   12/02/13            17         BOGO ENERGY CORPORATION                   Gas Sales                                             1123-000                 $3,036.66                                 $508,803.90

   12/06/13                       BANK OF NEW YORK MELLON                   BANK SERVICE FEE                                      2600-000                                        $1,206.45          $507,597.45

   12/12/13            17         MACK ENERGY CO. OIL & GAS                 Gas Sales                                             1123-000                    $710.99                                $508,308.44

   12/12/13                       Transfer to Acct # XXXXXX1067             Bank Funds Transfer                                   9999-000                                      $150,000.00          $358,308.44
                                                                            DIP Lending Agreement calls
                                                                            for additional carveout from DIP
                                                                            cash collateral of $100,000.00
                                                                            for Debtor Counsel
                                                                            professionals and $50,000.00
                                                                            for CC professionals in event
                                                                            case converted to Chapter7.
   12/26/13           10007       R&P OAKHILL, LLC                          Rent - January, 2014                                  2410-000                                        $1,720.00          $356,588.44
                                  3556 Lakeshore Road, Suite 620Buffalo,
                                  NY 14219
   12/26/13           10008       R&P OAKHILL, LLC                          Storage - January, 2014                               2410-000                                           $360.00         $356,228.44
                                  3556 Lakeshore Road, Suite 620Buffalo,
                                  NY 14219
   12/26/13           10009       WOODLAKE (TEXAS) PROPERTIES,              Rent - January, 2014                                  2410-000                                        $6,894.25          $349,334.19
                                  LTD.
                                  2500 Tanglewilde, Suite 100Houston, TX
                                  77063

                                         Case 1-12-13685-CLB, DocPage1231,     Filed 09/21/21, Entered 09/21/21 14:50:42,
                                                                        Subtotals:                               $4,772.58                                                      $160,180.70
        UST Form 101-7-TDR (10/1/2010) (Page: 64)
                                                          Description: Main Document , Page 64 of 79
                                                                                                                                                                                                   Page:       27

                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 12-13685                                                                                           Trustee Name: MARK S. WALLACH, TRUSTEE                                       Exhibit 9
      Case Name: NORSE ENERGY CORP. USA, A CORPORATI                                                                      Bank Name: The Bank of New York Mellon
                                                                                                                 Account Number/CD#: XXXXXX1056
                                                                                                                                          Checking DIP Lender Security
  Taxpayer ID No: XX-XXX8903                                                                             Blanket Bond (per case limit): $10,016,210.00
For Period Ending: 08/30/2021                                                                            Separate Bond (if applicable):


       1                2                             3                                             4                                                    5                      6                     7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction              Uniform Tran.       Deposits ($)         Disbursements ($)    Account/CD Balance
                    Reference                                                                                                       Code                                                              ($)
   12/31/13            17         SUNOCO, INC.                              Gas Sales                                            1123-000                    $201.68                                $349,535.87

   12/31/13            17         KASTLE RESOURCES ENTERPRISES,             Gas Sales                                            1123-000                     $37.89                                $349,573.76
                                  INC.

   01/06/14            18         VERIZON WIRELESS DISTRIBUTION             Refund for Services                                  1221-000                      $6.25                                $349,580.01

   01/06/14            17         BOGO ENERGY CORPORATION                   Gas Sales                                            1123-000                 $1,375.64                                 $350,955.65

   01/08/14                       BANK OF NEW YORK MELLON                   BANK SERVICE FEE                                     2600-000                                        $1,220.26          $349,735.39

   01/14/14            17         STEDMAN ENERGY, INC.                      Gas Sales                                            1123-000                     $74.22                                $349,809.61

   01/14/14            17         MACK ENERGY CO. OIL & GAS                 Gas Sales                                            1123-000                    $684.22                                $350,493.83

   01/17/14            17         CHESAPEAKE OPERATING, INC.                Gas Sales                                            1123-000                     $46.53                                $350,540.36

   01/24/14            17         PENROC OIL CORPORATION                    Gas Sales                                            1123-000                     $56.85                                $350,597.21

   01/24/14            17         STRYKER ENERGY, LLC                       Gas Sales                                            1123-000                     $29.89                                $350,627.10

   01/27/14           10010       R&P OAKHILL, LLC                          Rent - February, 2014                                2410-000                                        $1,720.00          $348,907.10
                                  3556 Lakeshore Road, Suite 620Buffalo,
                                  NY 14219
   01/27/14           10011       R&P OAKHILL, LLC                          Storage - February, 2014                             2410-000                                           $360.00         $348,547.10
                                  3556 Lakeshore Road, Suite 620Buffalo,
                                  NY 14219
   01/27/14           10012       WOODLAKE (TEXAS) PROPERTIES,              Rent - February, 2014                                2410-000                                        $6,894.25          $341,652.85
                                  LTD.
                                  2500 Tanglewilde, Suite 100Houston, TX
                                  77063
   01/28/14            17         KASTLE RESOURCES ENTERPRISES,             Gas Sales                                            1123-000                     $35.50                                $341,688.35
                                  INC.

   02/04/14            18         WINDSTREAM                                Refund                                               1221-000                 $1,045.06                                 $342,733.41



                                         Case 1-12-13685-CLB, DocPage1231,     Filed 09/21/21, Entered 09/21/21 14:50:42,
                                                                        Subtotals:                               $3,593.73                                                      $10,194.51
        UST Form 101-7-TDR (10/1/2010) (Page: 65)
                                                          Description: Main Document , Page 65 of 79
                                                                                                                                                                                                      Page:       28

                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 12-13685                                                                                            Trustee Name: MARK S. WALLACH, TRUSTEE                                         Exhibit 9
      Case Name: NORSE ENERGY CORP. USA, A CORPORATI                                                                       Bank Name: The Bank of New York Mellon
                                                                                                                  Account Number/CD#: XXXXXX1056
                                                                                                                                           Checking DIP Lender Security
  Taxpayer ID No: XX-XXX8903                                                                              Blanket Bond (per case limit): $10,016,210.00
For Period Ending: 08/30/2021                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                    5                      6                       7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)         Disbursements ($)      Account/CD Balance
                    Reference                                                                                                        Code                                                                ($)
   02/07/14                       BANK OF NEW YORK MELLON                   BANK SERVICE FEE                                      2600-000                                            $883.22          $341,850.19

   02/10/14            17         MACK ENERGY CO. OIL & GAS                 Gas Sales                                             1123-000                    $698.94                                  $342,549.13

   02/10/14            17         BOGO ENERGY CORPORATION                   Gas Sales                                             1123-000                 $2,767.78                                   $345,316.91

   02/21/14            17         LIGHTHOUSE OIL & GAS LP                   Gas Sales                                             1123-000                    $103.52                                  $345,420.43

   02/26/14            17         CHESAPEAKE OPERATING INC.                 Gas Sales                                             1123-000                     $37.49                                  $345,457.92

   02/28/14           10013       R&P OAKHILL LLC                           Rent - March, 2014                                    2410-000                                        $1,720.00            $343,737.92
                                  3556 Lakeshore Road, Suite 620Buffalo,
                                  NY 14219
   02/28/14           10014       R&P OAKHILL LLC                           Storage - March, 2014                                 2410-000                                            $360.00          $343,377.92
                                  3556 Lakeshore Road, Suite 620Buffalo,
                                  NY 14219
   02/28/14           10015       WOOKLAKE (TEXAS) PROPERTIES               Rent - March, 2014                                    2410-000                                        $6,894.25            $336,483.67
                                  LTD.
                                  2500 Tanglewilde, Suite 100Houston, TX
                                  77063
   03/07/14                       BANK OF NEW YORK MELLON                   BANK SERVICE FEE                                      2600-000                                            $636.37          $335,847.30

   03/11/14            17         WARREN AMERICAN OIL COMPANY               Gas Sales                                             1123-000                    $135.79                                  $335,983.09
                                  LLC

   03/11/14            17         MACK ENERGY CO. OIL & GAS                 Gas Sales                                             1123-000                    $754.47                                  $336,737.56

   03/11/14            17         BOGO ENERGY CORPORATION                   Gas Sales                                             1123-000                 $1,166.55                                   $337,904.11

   03/27/14            17         EMPIRE ENERGY E&P, LLC                    Gas Sales                                             1123-000                    $578.03                                  $338,482.14

   04/02/14           10016       Reverses Check # 10016                    Rent - April, 2014                                    2410-000                                       ($1,720.00)           $340,202.14

   04/02/14           10017       Reverses Check # 10017                    Storage - April, 2014                                 2410-000                                           ($360.00)         $340,562.14




                                         Case 1-12-13685-CLB, DocPage1231,     Filed 09/21/21, Entered 09/21/21 14:50:42,
                                                                        Subtotals:                               $6,242.57                                                        $8,413.84
        UST Form 101-7-TDR (10/1/2010) (Page: 66)
                                                          Description: Main Document , Page 66 of 79
                                                                                                                                                                                                    Page:       29

                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 12-13685                                                                                            Trustee Name: MARK S. WALLACH, TRUSTEE                                       Exhibit 9
      Case Name: NORSE ENERGY CORP. USA, A CORPORATI                                                                       Bank Name: The Bank of New York Mellon
                                                                                                                  Account Number/CD#: XXXXXX1056
                                                                                                                                           Checking DIP Lender Security
  Taxpayer ID No: XX-XXX8903                                                                              Blanket Bond (per case limit): $10,016,210.00
For Period Ending: 08/30/2021                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                    5                      6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)         Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                              ($)
   04/02/14           10018       Reverses Check # 10018                    Rent - April, 2014                                    2410-000                                       ($6,894.25)         $347,456.39

   04/02/14           10016       R&P OAKHILL LLC                           Rent - April, 2014                                    2410-000                                        $1,720.00          $345,736.39
                                  3556 Lakeshore Road, Suite 620Buffalo,
                                  NY 14219
   04/02/14           10017       R&P OAKHILL LLC                           Storage - April, 2014                                 2410-000                                           $360.00         $345,376.39
                                  3556 Lakeshore Road, Suite 620Buffalo,
                                  NY 14219
   04/02/14           10018       WOODLAKE (TEXAS) PROPERTIES               Rent - April, 2014                                    2410-000                                        $6,894.25          $338,482.14
                                  LTD.
                                  2500 Tanglewilde, Suite 100Houston, TX
                                  77063
   04/02/14           10019       R&P OAKHILL LLC                           Rent - April, 2014                                    2410-000                                        $1,720.00          $336,762.14
                                  3556 Lakeshore Road, Suite 620Buffalo,
                                  NY 14219
   04/02/14           10020       R&P OAKHILL LLC                           Storage - April, 2014                                 2410-000                                           $360.00         $336,402.14
                                  3556 Lakeshore Road, Suite 620Buffalo,
                                  NY 14219
   04/02/14           10021       WOODLAKE (TEXAS) PROPERTIES               Rent - April, 2014                                    2410-000                                        $6,894.25          $329,507.89
                                  LTD.
                                  2500 Tanglewilde, Suite 100Houston, TX
                                  77063
   04/03/14            17         EMPIRE ENERGY E & P, LLC                  Gas Sales                                             1123-000                 $2,519.16                                 $332,027.05

   04/03/14            18         THE WEST FIRM, PLLC                       Refund of Escrow                                      1221-000                 $4,177.61                                 $336,204.66

   04/07/14                       BANK OF NEW YORK MELLON                   BANK SERVICE FEE                                      2600-000                                           $678.79         $335,525.87

   04/09/14            17         MACK ENERGY CO. OIL & GAS                 Gas Sales                                             1123-000                    $894.68                                $336,420.55

   04/09/14            17         BOGO ENERGY CORP.                         Gas Sales                                             1123-000                 $1,217.51                                 $337,638.06

   04/15/14            17         SETTLEMENT, CORNETT V SAMSON              Gas Sales                                             1123-000                     $96.70                                $337,734.76
                                  RESOUR

   04/15/14            17         ENERGY, STEDMAN                           Gas Sales                                             1123-000                     $59.80                                $337,794.56



                                         Case 1-12-13685-CLB, DocPage1231,     Filed 09/21/21, Entered 09/21/21 14:50:42,
                                                                        Subtotals:                               $8,965.46                                                       $11,733.04
        UST Form 101-7-TDR (10/1/2010) (Page: 67)
                                                          Description: Main Document , Page 67 of 79
                                                                                                                                                                                                   Page:       30

                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 12-13685                                                                                           Trustee Name: MARK S. WALLACH, TRUSTEE                                       Exhibit 9
      Case Name: NORSE ENERGY CORP. USA, A CORPORATI                                                                      Bank Name: The Bank of New York Mellon
                                                                                                                 Account Number/CD#: XXXXXX1056
                                                                                                                                          Checking DIP Lender Security
  Taxpayer ID No: XX-XXX8903                                                                             Blanket Bond (per case limit): $10,016,210.00
For Period Ending: 08/30/2021                                                                            Separate Bond (if applicable):


       1                2                             3                                             4                                                    5                      6                     7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction              Uniform Tran.       Deposits ($)         Disbursements ($)    Account/CD Balance
                    Reference                                                                                                       Code                                                              ($)
   04/15/14            17         CHESAPEAKE OPERATING, INC.                Gas sales                                            1123-000                     $35.56                                $337,830.12

   04/28/14            17         STRYKER ENERGY, LLC                       Gas Sales                                            1123-000                     $37.49                                $337,867.61

   04/30/14            18         LJ STEIN & CO INC.                        Premium Refund                                       1221-000                 $6,162.00                                 $344,029.61

   05/06/14            17         RESOURCES, KASTLE                         Gas Sales                                            1123-000                     $18.87                                $344,048.48

   05/06/14            17         RESOURCES, KASTLE                         Gas Sales                                            1123-000                     $28.49                                $344,076.97

   05/06/14            17         RESOURCES, ARDENT                         Gas Sales                                            1123-000                    $325.53                                $344,402.50

   05/06/14            17         OPERATING, CHESAPEAKE                     Gas Sales                                            1123-000                    $139.26                                $344,541.76

   05/06/14            17         ENERGY, EMPIRE                            Gas Sales                                            1123-000                    $794.46                                $345,336.22

   05/06/14            17         ENERGY, EMPIRE                            Gas Sales                                            1123-000                 $2,918.82                                 $348,255.04

   05/06/14            17         ENERGY, EMPIRE                            Gas Sales                                            1123-000                 $2,652.23                                 $350,907.27

   05/06/14            17         ENERGY, EMPIRE                            Gas Sales                                            1123-000                    $900.60                                $351,807.87

   05/06/14            17         ENERGY, EMPIRE                            Gas Sales                                            1123-000                     $11.14                                $351,819.01

   05/06/14            17         ENERGY, EMPIRE                            Gas Sales                                            1123-000                    $901.39                                $352,720.40

   05/06/14            17         ENERGY, EMPIRE                            Gas Sales                                            1123-000                    $664.23                                $353,384.63

   05/06/14            17         ENERGY, EMPIRE                            Gas Sales                                            1123-000                 $1,140.59                                 $354,525.22

   05/07/14                       BANK OF NEW YORK MELLON                   BANK SERVICE FEE                                     2600-000                                           $655.50         $353,869.72

   05/08/14            17         MACK ENERGY CO.                           Gas Sales                                            1123-000                    $615.83                                $354,485.55




                                         Case 1-12-13685-CLB, DocPage1231,     Filed 09/21/21, Entered 09/21/21 14:50:42,
                                                                        Subtotals:                               $17,346.49                                                         $655.50
        UST Form 101-7-TDR (10/1/2010) (Page: 68)
                                                          Description: Main Document , Page 68 of 79
                                                                                                                                                                                                    Page:       31

                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 12-13685                                                                                             Trustee Name: MARK S. WALLACH, TRUSTEE                                      Exhibit 9
      Case Name: NORSE ENERGY CORP. USA, A CORPORATI                                                                        Bank Name: The Bank of New York Mellon
                                                                                                                  Account Number/CD#: XXXXXX1056
                                                                                                                                            Checking DIP Lender Security
  Taxpayer ID No: XX-XXX8903                                                                               Blanket Bond (per case limit): $10,016,210.00
For Period Ending: 08/30/2021                                                                              Separate Bond (if applicable):


       1                2                             3                                              4                                                     5                      6                    7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction               Uniform Tran.       Deposits ($)         Disbursements ($)   Account/CD Balance
                    Reference                                                                                                         Code                                                             ($)
   05/08/14            17         EXPLORATION, NEWFIELD                     Gas Sales                                              1123-000                      $3.18                               $354,488.73

   05/19/14                       Transfer to Acct # XXXXXX1265             Bank Funds Transfer                                    9999-000                                      $354,488.73                 $0.00
                                                                            To facilitate wire to DIP Lender
   07/11/14            17         SAMSON RESOURCES COMPANY                  Gas Sales                                              1123-000                    $104.29                                     $104.29

   07/11/14            17         RESOURCES, KASTLE                         Gas Sales                                              1123-000                     $46.03                                     $150.32

   07/11/14            17         MACK ENERGY OIL & GAS                     Gas Sales                                              1123-000                    $797.42                                     $947.74

   07/11/14            17         LIGHTHOUSE OIL & GAS                      Gas Sales                                              1123-000                    $102.11                                  $1,049.85

   07/11/14            17         ENERGY, DEVON                             Gas Sales                                              1123-000                     $27.26                                  $1,077.11

   07/11/14            17         EMPIRE ENERGY E&P, LLC                    Gas Sales                                              1123-000                 $2,671.97                                   $3,749.08

   07/11/14            17         EMPIRE ENERGY E&P, LLC                    Gas Sales                                              1123-000                 $1,766.82                                   $5,515.90

   07/11/14            17         EMPIRE ENERGY E & P, LLC                  Gas Sales                                              1123-000                    $963.10                                  $6,479.00

   07/11/14            18         CATTARAUGUS COUNTY                        Refund                                                 1221-000                    $146.10                                  $6,625.10

   07/11/14            17         BOGO ENERGY CORP.                         Gas Sales                                              1123-000                 $2,866.49                                   $9,491.59

   07/11/14            17         BOGO ENERGY CORP.                         Gas Sales                                              1123-000                 $1,365.94                                 $10,857.53

   07/11/14            17         ARDENT RESOURCES, INC.                    Gas Sales                                              1123-000                    $482.64                                $11,340.17

   07/17/14           10022       START UP 271 AS                           Gas Sale Royalties                                     4210-000                                       $11,340.17                 $0.00

   11/25/14            22         CHICAGO TITLE INSURANCE CO.               Chicago Title Escrow (Hartz)                           1221-000               $35,025.94                                  $35,025.94

   12/10/14           10023       START UP 271 AS                           Chicago Title Escrow - per                             4210-000                                       $27,525.94            $7,500.00
                                                                            Order



                                         Case 1-12-13685-CLB, DocPage1231,     Filed 09/21/21, Entered 09/21/21 14:50:42,
                                                                        Subtotals:                               $46,369.29                                                      $393,354.84
        UST Form 101-7-TDR (10/1/2010) (Page: 69)
                                                          Description: Main Document , Page 69 of 79
                                                                                                                                                                                                   Page:       32

                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 12-13685                                                                                              Trustee Name: MARK S. WALLACH, TRUSTEE                                    Exhibit 9
      Case Name: NORSE ENERGY CORP. USA, A CORPORATI                                                                        Bank Name: The Bank of New York Mellon
                                                                                                                   Account Number/CD#: XXXXXX1056
                                                                                                                                          Checking DIP Lender Security
  Taxpayer ID No: XX-XXX8903                                                                             Blanket Bond (per case limit): $10,016,210.00
For Period Ending: 08/30/2021                                                                            Separate Bond (if applicable):


       1                2                             3                                             4                                                    5                      6                     7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction               Uniform Tran.      Deposits ($)         Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                             ($)
   12/10/14           10024       MARK S. WALLACH, TRUSTEE IN               Estate Carve-Out Chicago Title                         1249-002                                      $7,500.00                 $0.00
                                  BANKRUP
                                  for Norse Energy Corp. USA


                                                                                                             COLUMN TOTALS                             $602,480.93             $602,480.93
                                                                                                                   Less: Bank Transfers/CD's                  $0.00            $504,488.73
                                                                                                             Subtotal                                  $602,480.93              $97,992.20
                                                                                                                   Less: Payments to Debtors                  $0.00                   $0.00
                                                                                                             Net                                       $602,480.93              $97,992.20




                                         Case 1-12-13685-CLB, DocPage1231,     Filed 09/21/21, Entered 09/21/21 14:50:42,
                                                                        Subtotals:                                  $0.00                                                        $7,500.00
        UST Form 101-7-TDR (10/1/2010) (Page: 70)
                                                          Description: Main Document , Page 70 of 79
                                                                                                                                                                                                  Page:       33

                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 12-13685                                                                                             Trustee Name: MARK S. WALLACH, TRUSTEE                                    Exhibit 9
      Case Name: NORSE ENERGY CORP. USA, A CORPORATI                                                                       Bank Name: The Bank of New York Mellon
                                                                                                                  Account Number/CD#: XXXXXX1067
                                                                                                                                           Checking WF 5432 Prof. Esc
  Taxpayer ID No: XX-XXX8903                                                                              Blanket Bond (per case limit): $10,016,210.00
For Period Ending: 08/30/2021                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                    5                    6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                            ($)
   10/30/13            14         FARGO, WELLS                              Bank Balance Turnover                                 1229-000              $212,935.42                                $212,935.42

   12/12/13                       Transfer from Acct # XXXXXX1056           Bank Funds Transfer                                   9999-000              $150,000.00                                $362,935.42
                                                                            DIP Lending Agreement calls
                                                                            for additional carveout from DIP
                                                                            cash collateral of $100,000.00
                                                                            for Debtor Counsel
                                                                            professionals and $50,000.00
                                                                            for CC professionals in event
                                                                            case converted to Chapter7.
   12/18/13           10001       GROSS, SHUMAN, BRIZDLE &                  Ch 11 Fees per Order 12/3/13                          6210-000                                     $85,000.00          $277,935.42
                                  GILFILLAN,                                Ch 11 Fees per Order entered
                                  Attorneys at Law465 Main Street, Suite    12/3/13
                                  600Buffalo, NY 14203-1787Attention:
                                  Janet G. Burhyte, Esq.
   12/18/13           10002       GROSS, SHUMAN, BRIZDLE &                  Ch 11 Exp per Order 12/3/13                           6220-000                                      $1,942.43          $275,992.99
                                  GILFILLAN,                                Ch 11 Expenses per Order
                                  Attorneys at Law465 Main Street, Suite    entered 12/3/13
                                  600Buffalo, NY 14203-1787Attention:
                                  Janet G. Burhyte, Esq.
   01/02/14           10003       REED SMITH LLP                            Ch 11 Fees per Order 12/17/13                         6210-000                                    $144,622.00          $131,370.99
                                  Reed Smith Centre225 Fifth                Chapter 11 Fees per Order
                                  AvenuePittsburgh, PA 15222-               entered 12/17/13
                                  2716Attention: Michael P. Joy, Esq.
   01/02/14           10004       REED SMITH LLP                            Ch 11 Exp per Order 12/17/13                          6220-000                                      $3,540.39          $127,830.60
                                  Reed Smith Centre225 Fifth                Ch 11 Expenses per Order
                                  AvenuePittsburgh, PA 15222-2716           entered 12/17/13
   02/03/14           10005       DAMON MOREY LLP                        Ch 11 Fees/Exp per Order                                 6210-000                                    $110,112.72           $17,717.88
                                  The Avant Building200 Delaware Avenue, 1/17/14
                                  Suite 1200Buffalo, NY 14202Attention:
                                  William F. Savino, Esq.
   04/30/14           10006       GROSS SHUMAN BRIZDLE &                    Ch 11 Fees per Order 4/15/14                          6210-000                                     $17,717.88                 $0.00
                                  GILFILLAN PC



                                                                                                             COLUMN TOTALS                              $362,935.42           $362,935.42
                                                                                                                  Less: Bank Transfers/CD's             $150,000.00                  $0.00



                                         Case 1-12-13685-CLB, DocPage1231,     Filed 09/21/21, Entered 09/21/21 $362,935.42
                                                                        Subtotals:                              14:50:42,                                                     $362,935.42
        UST Form 101-7-TDR (10/1/2010) (Page: 71)
                                                          Description: Main Document , Page 71 of 79
                                                                                                                                          Page:   34

                                                                            Subtotal                          $212,935.42   $362,935.42
                                                                                  Less: Payments to Debtors         $0.00         $0.00
                                                                            Net                               $212,935.42   $362,935.42    Exhibit 9




                                 Case 1-12-13685-CLB, DocPage1231,     Filed 09/21/21, Entered 09/21/21 14:50:42,
                                                                Subtotals:                                  $0.00                 $0.00
UST Form 101-7-TDR (10/1/2010) (Page: 72)
                                                  Description: Main Document , Page 72 of 79
                                                                                                                                                                                                  Page:       35

                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 12-13685                                                                                                Trustee Name: MARK S. WALLACH, TRUSTEE                                 Exhibit 9
      Case Name: NORSE ENERGY CORP. USA, A CORPORATI                                                                          Bank Name: The Bank of New York Mellon
                                                                                                                     Account Number/CD#: XXXXXX1078
                                                                                                                                           Checking Account WF 9308
  Taxpayer ID No: XX-XXX8903                                                                              Blanket Bond (per case limit): $10,016,210.00
For Period Ending: 08/30/2021                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                    5                    6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction                Uniform Tran.    Deposits ($)        Disbursements ($)    Account/CD Balance
                    Reference                                                                                                          Code                                                          ($)
   11/01/13            15         FARGO, WELLS                              Bank Balance Turnover                                    1229-000                 $100.00                                    $100.00

   05/19/14                       Transfer to Acct # XXXXXX1265             Bank Funds Transfer                                      9999-000                                      $100.00                 $0.00
                                                                            To facilitate wire to DIP Lender


                                                                                                               COLUMN TOTALS                                  $100.00              $100.00
                                                                                                                     Less: Bank Transfers/CD's                  $0.00              $100.00
                                                                                                               Subtotal                                       $100.00                $0.00
                                                                                                                     Less: Payments to Debtors                  $0.00                $0.00
                                                                                                               Net                                            $100.00                $0.00




                                         Case 1-12-13685-CLB, DocPage1231,     Filed 09/21/21, Entered 09/21/21 14:50:42,
                                                                        Subtotals:                                $100.00                                                          $100.00
        UST Form 101-7-TDR (10/1/2010) (Page: 73)
                                                          Description: Main Document , Page 73 of 79
                                                                                                                                                                                                  Page:       36

                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 12-13685                                                                                                Trustee Name: MARK S. WALLACH, TRUSTEE                                 Exhibit 9
      Case Name: NORSE ENERGY CORP. USA, A CORPORATI                                                                          Bank Name: The Bank of New York Mellon
                                                                                                                     Account Number/CD#: XXXXXX1089
                                                                                                                                           Checking Account WF 9316
  Taxpayer ID No: XX-XXX8903                                                                              Blanket Bond (per case limit): $10,016,210.00
For Period Ending: 08/30/2021                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                    5                    6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction                Uniform Tran.    Deposits ($)        Disbursements ($)    Account/CD Balance
                    Reference                                                                                                          Code                                                          ($)
   11/01/13            16         FARGO, WELLS                              Bank Balance Turnover                                    1229-000                 $100.00                                    $100.00

   05/19/14                       Transfer to Acct # XXXXXX1265             Bank Funds Transfer                                      9999-000                                      $100.00                 $0.00
                                                                            To facilitate wire to DIP Lender


                                                                                                               COLUMN TOTALS                                  $100.00              $100.00
                                                                                                                     Less: Bank Transfers/CD's                  $0.00              $100.00
                                                                                                               Subtotal                                       $100.00                $0.00
                                                                                                                     Less: Payments to Debtors                  $0.00                $0.00
                                                                                                               Net                                            $100.00                $0.00




                                         Case 1-12-13685-CLB, DocPage1231,     Filed 09/21/21, Entered 09/21/21 14:50:42,
                                                                        Subtotals:                                $100.00                                                          $100.00
        UST Form 101-7-TDR (10/1/2010) (Page: 74)
                                                          Description: Main Document , Page 74 of 79
                                                                                                                                                                                                  Page:       37

                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 12-13685                                                                                            Trustee Name: MARK S. WALLACH, TRUSTEE                                     Exhibit 9
      Case Name: NORSE ENERGY CORP. USA, A CORPORATI                                                                       Bank Name: The Bank of New York Mellon
                                                                                                                  Account Number/CD#: XXXXXX1265
                                                                                                                                           Checking Sale Proceeds
  Taxpayer ID No: XX-XXX8903                                                                              Blanket Bond (per case limit): $10,016,210.00
For Period Ending: 08/30/2021                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                    5                    6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                            ($)
   05/19/14                       Transfer from Acct # XXXXXX1034           Bank Funds Transfer                                   9999-000               $95,073.89                                 $95,073.89
                                                                            To facilitate wire to DIP Lender
   05/19/14                       Transfer from Acct # XXXXXX1045           Bank Funds Transfer                                   9999-000                 $4,073.32                                $99,147.21
                                                                            To facilitate wire to DIP Lender
   05/19/14                       Transfer from Acct # XXXXXX1056           Bank Funds Transfer                                   9999-000              $354,488.73                                $453,635.94
                                                                            To facilitate wire to DIP Lender
   05/19/14                       Transfer from Acct # XXXXXX1078           Bank Funds Transfer                                   9999-000                    $100.00                              $453,735.94
                                                                            To facilitate wire to DIP Lender
   05/19/14                       Transfer from Acct # XXXXXX1089           Bank Funds Transfer                                   9999-000                    $100.00                              $453,835.94
                                                                            To facilitate wire to DIP Lender
   05/21/14                       NORDEA BANK NORGE ASA                     363/365 Sale of Assets                                1129-000            $2,650,000.00                              $3,103,835.94
                                  Postboks 1166 Sentrum0107 Oslo,
                                  Norway
   05/28/14            19         GROSS SHUMAN BRIZDLE &                    363/365 Sale of Assets                                1129-000            $2,650,000.00                              $5,753,835.94
                                  GILFILLAN PC                              Original wire transaction
                                                                            occurred 5/21/14
   05/28/14                       Reverses Wire In # 0                      363/365 Sale of Assets                                1129-000          ($2,650,000.00)                              $3,103,835.94
                                                                            Entry reversed incorrect payor
                                                                            name.
   06/02/14                       START UP 271 AS                           363/365 Sale of Assets                                4210-000                                  $2,781,335.94          $322,500.00
                                                                            Payment per Amended Order
                                                                            approving Sale
   06/06/14                       BANK OF NEW YORK MELLON                   BANK SERVICE FEE                                      2600-000                                      $1,807.93          $320,692.07

   07/08/14                       BANK OF NEW YORK MELLON                   BANK SERVICE FEE                                      2600-000                                         $461.70         $320,230.37

   08/05/14           10001       GROSS, SHUMAN, BRIZDLE &                  Special Counsel Fee Chapter 7                         3210-000                                     $72,500.00          $247,730.37
                                  GILFILLAN                                 Expense - Order 7/21/14

   08/07/14                       BANK OF NEW YORK MELLON                   BANK SERVICE FEE                                      2600-000                                         $484.87         $247,245.50

   08/14/14           10002       INTERNATIONAL SURETIES, LTD.   Bond Premium 9/1/14-8/30/15                                      2300-000                                         $342.23         $246,903.27
                                  SUITE 420701 POYDRAS STREETNEW
                                  ORLEANS, LA 70139
   09/08/14                       BANK OF NEW YORK MELLON                   BANK SERVICE FEE                                      2600-000                                         $473.07         $246,430.20



                                         Case 1-12-13685-CLB, DocPage1231,     Filed 09/21/21, Entered 09/21/21$3,103,835.94
                                                                        Subtotals:                               14:50:42,                                                  $2,857,405.74
        UST Form 101-7-TDR (10/1/2010) (Page: 75)
                                                          Description: Main Document , Page 75 of 79
                                                                                                                                                                                                Page:       38

                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 12-13685                                                                                             Trustee Name: MARK S. WALLACH, TRUSTEE                                  Exhibit 9
      Case Name: NORSE ENERGY CORP. USA, A CORPORATI                                                                       Bank Name: The Bank of New York Mellon
                                                                                                                  Account Number/CD#: XXXXXX1265
                                                                                                                                          Checking Sale Proceeds
  Taxpayer ID No: XX-XXX8903                                                                             Blanket Bond (per case limit): $10,016,210.00
For Period Ending: 08/30/2021                                                                            Separate Bond (if applicable):


       1                2                             3                                             4                                                    5                   6                     7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                       Code                                                           ($)
   10/07/14                       BANK OF NEW YORK MELLON                   BANK SERVICE FEE                                      2600-000                                       $420.82         $246,009.38

   11/07/14                       BANK OF NEW YORK MELLON                   BANK SERVICE FEE                                      2600-000                                       $433.63         $245,575.75

   12/05/14                       BANK OF NEW YORK MELLON                   BANK SERVICE FEE                                      2600-000                                       $424.06         $245,151.69

   01/08/15                       BANK OF NEW YORK MELLON                   BANK SERVICE FEE                                      2600-000                                       $364.45         $244,787.24

   02/06/15                       BANK OF NEW YORK MELLON                   BANK SERVICE FEE                                      2600-000                                       $443.07         $244,344.17

   03/06/15                       BANK OF NEW YORK MELLON                   BANK SERVICE FEE                                      2600-000                                       $399.59         $243,944.58

   04/07/15                       BANK OF NEW YORK MELLON                   BANK SERVICE FEE                                      2600-000                                       $441.79         $243,502.79

   05/07/15                       BANK OF NEW YORK MELLON                   BANK SERVICE FEE                                      2600-000                                       $426.94         $243,075.85

   06/05/15                       BANK OF NEW YORK MELLON                   BANK SERVICE FEE                                      2600-000                                       $440.53         $242,635.32

   07/07/15                       BANK OF NEW YORK MELLON                   BANK SERVICE FEE                                      2600-000                                       $425.65         $242,209.67

   07/30/15                       Transfer to Acct # XXXXXX3208             Bank Funds Transfer                                   9999-000                                  $242,209.67                 $0.00



                                                                                                            COLUMN TOTALS                            $3,103,835.94        $3,103,835.94
                                                                                                                  Less: Bank Transfers/CD's            $453,835.94          $242,209.67
                                                                                                            Subtotal                                 $2,650,000.00        $2,861,626.27
                                                                                                                  Less: Payments to Debtors                   $0.00                $0.00
                                                                                                            Net                                      $2,650,000.00        $2,861,626.27




                                         Case 1-12-13685-CLB, DocPage1231,     Filed 09/21/21, Entered 09/21/21 14:50:42,
                                                                        Subtotals:                                  $0.00                                                   $246,430.20
        UST Form 101-7-TDR (10/1/2010) (Page: 76)
                                                          Description: Main Document , Page 76 of 79
                                                                                                                                                                                                Page:       39

                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 12-13685                                                                                             Trustee Name: MARK S. WALLACH, TRUSTEE                                  Exhibit 9
      Case Name: NORSE ENERGY CORP. USA, A CORPORATI                                                                       Bank Name: The Bank of New York Mellon
                                                                                                                  Account Number/CD#: XXXXXX1408
                                                                                                                                          Checking Avoidance & Carveouts
  Taxpayer ID No: XX-XXX8903                                                                             Blanket Bond (per case limit): $10,016,210.00
For Period Ending: 08/30/2021                                                                            Separate Bond (if applicable):


       1                2                             3                                             4                                                    5                   6                     7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                       Code                                                           ($)
   07/23/14            20         FARGO, WELLS                              549 Claim                                             1241-000              $45,659.41                                $45,659.41

   12/10/14            22         NORSE, MARK S. WALLACH, TIB               Estate Carve-Out Per Order                            1221-000                $7,500.00                               $53,159.41

   12/18/14            23         DAMON & MOREY LLP                         Misc Receivable                                       1221-000                   $72.44                               $53,231.85

   07/30/15                       Transfer to Acct # XXXXXX3216             Bank Funds Transfer                                   9999-000                                   $53,231.85                 $0.00



                                                                                                            COLUMN TOTALS                               $53,231.85           $53,231.85
                                                                                                                  Less: Bank Transfers/CD's                   $0.00          $53,231.85
                                                                                                            Subtotal                                    $53,231.85                 $0.00
                                                                                                                  Less: Payments to Debtors                   $0.00                $0.00
                                                                                                            Net                                         $53,231.85                 $0.00




                                         Case 1-12-13685-CLB, DocPage1231,     Filed 09/21/21, Entered 09/21/21 14:50:42,
                                                                        Subtotals:                               $53,231.85                                                  $53,231.85
        UST Form 101-7-TDR (10/1/2010) (Page: 77)
                                                          Description: Main Document , Page 77 of 79
                                                                                                                                                            Page:     40




                                                                                                                                                             Exhibit 9
                                                                                       TOTAL OF ALL ACCOUNTS
                                                                                                                                        NET             ACCOUNT
                                                                                                     NET DEPOSITS        DISBURSEMENTS                   BALANCE
                                             XXXXXX0171 - Lease sale proceeds s/t                               $0.00            $28,763.22                  $0.00
                                             Carveout
                                             XXXXXX0189 - Avoidance, Carveouts &                                $0.00         $1,172,261.27                  $0.00
                                             Lease Sale Proceeds
                                             XXXXXX0312 - Checking DIP Lender                          $1,985,000.00          $1,141,532.14                  $0.00
                                             Security
                                             XXXXXX1034 - Checking Amegy 303607                           $95,221.47                $147.58                  $0.00

                                             XXXXXX1045 - Checking Amegy 326917                             $4,073.32                  $0.00                 $0.00

                                             XXXXXX1056 - Checking DIP Lender                            $602,480.93             $97,992.20                  $0.00
                                             Security
                                             XXXXXX1067 - Checking WF 5432 Prof.                         $212,935.42            $362,935.42                  $0.00
                                             Esc
                                             XXXXXX1078 - Checking Account WF                                 $100.00                  $0.00                 $0.00
                                             9308
                                             XXXXXX1089 - Checking Account WF                                 $100.00                  $0.00                 $0.00
                                             9316
                                             XXXXXX1265 - Checking Sale Proceeds                       $2,650,000.00          $2,861,626.27                  $0.00

                                             XXXXXX1408 - Checking Avoidance &                            $53,231.85                   $0.00                 $0.00
                                             Carveouts
                                             XXXXXX3034 - Checking DIP Lender                            $662,307.25            $584,236.55                  $0.00
                                             Security
                                             XXXXXX3208 - Lease sale proceeds s/t                               $0.00            $13,688.18                  $0.00
                                             Carveout
                                             XXXXXX3216 - Avoidance & Carveouts                             $3,158.43              $5,425.84                 $0.00
                                             Unencumbered
                                                                                                       $6,268,608.67          $6,268,608.67                  $0.00

                                                                                                    (Excludes account    (Excludes payments     Total Funds on Hand
                                                                                                            transfers)            to debtors)
                                             Total Allocation Receipts:                $8,000.00
                                             Total Net Deposits:                    $6,268,608.67
                                             Total Gross Receipts:                  $6,276,608.67




                                 Case 1-12-13685-CLB, DocPage1231,     Filed 09/21/21, Entered 09/21/21 14:50:42,
                                                                Subtotals:                                  $0.00                               $0.00
UST Form 101-7-TDR (10/1/2010) (Page: 78)
                                                  Description: Main Document , Page 78 of 79
                                                                                                                            Page:   41




                                                                                                                             Exhibit 9




                                 Case 1-12-13685-CLB, DocPage1231,     Filed 09/21/21, Entered 09/21/21 14:50:42,
                                                                Subtotals:                                  $0.00   $0.00
UST Form 101-7-TDR (10/1/2010) (Page: 79)
                                                  Description: Main Document , Page 79 of 79
